Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 1 of 131



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 9:19-cv-80730-RS-MM

   WILLIAM ARMSTRONG, GLORIA                       SECOND AMENDED CLASS
   ATKINS, JAMES BROOKS, R. BUTTS,                 ACTION COMPLAINT
   INC., CLOVER COFFIE, DEBRA JONES,
   SHANTE LEGRAND, DONALD
   MCLEAN, ROBERT REIMBOLD, ELIJAH                 CLASS ACTION
   SMITH, and LINDA WILCHER, each
   individually and on behalf of all others        JURY TRIAL DEMANDED
   similarly situated;

                                    Plaintiffs,

                          v.

   UNITED STATES SUGAR
   CORPORATION, a Delaware Corporation;
   SUGAR CANE GROWERS
   COOPERATIVE OF FLORIDA, a Florida
   not for profit corporation; FLORIDA
   CRYSTALS CORPORATION, a Delaware
   corporation; OKEELANTA
   CORPORATION, a Delaware corporation;
   OSCEOLA FARMS, a Florida corporation;
   SUGARLAND HARVESTING CO., a
   Florida not for profit corporation,
   TRUCANE SUGAR CORPORATION, a
   Florida corporation; INDEPENDENT
   HARVESTING, INC., a Florida corporation;
   and J & J AG PRODUCTS, INC., a Florida
   corporation,

                                  Defendants.




   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 2 of 131



                                                     TABLE OF CONTENTS
                                                                                                                                             Page

   I.       INTRODUCTION ...............................................................................................................1

   II.      PARTIES ...........................................................................................................................18

            A.         Plaintiffs .................................................................................................................18

                       1.         William Armstrong ....................................................................................18

                       2.         Gloria Atkins ..............................................................................................21

                       3.         James Brooks .............................................................................................22

                       4.         R. Butts, Inc. ..............................................................................................24

                       5.         Clover Coffie .............................................................................................25

                       6.         Debra Jones ................................................................................................26

                       7.         Shante Legrand ..........................................................................................28

                       8.         Donald Mclean ...........................................................................................29

                       9.         Robert Reimbold ........................................................................................29

                       10.        Elijah Smith ...............................................................................................30

                       11.        Linda Wilcher ............................................................................................31

            B.         Defendants .............................................................................................................32

                       1.         United States Sugar Corporation ...............................................................32

                       2.         Sugar Cane Growers Cooperative of Florida .............................................32

                       3.         Florida Crystals Corporation......................................................................33

                       4.         Okeelanta Corporation ...............................................................................34

                       5.         Osceola Farms ............................................................................................34

                       6.         Sugarland Harvesting Co. ..........................................................................35

                       7.         Trucane Sugar Corporation ........................................................................35

                       8.         Independent Harvesting, Inc. .....................................................................36




                                                                       -i-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 3 of 131



                      9.        J & J Ag Products, Inc. ..............................................................................36

   III.     JURISDICTION AND VENUE ........................................................................................36

   IV.      GENERAL ALLEGATIONS ............................................................................................37

            C.        History of Defendants’ sugarcane agriculture .......................................................37

            D.        The sugarcane burning process and its effects .......................................................43

                      1.        Defendants burn hundreds of thousands of acres of sugarcane each year. 43

                      2.        Each burn is a toxic stew of smoke and particulate matter. .......................53

                      3.        Toxic smoke and particulate matter from Defendants’ burns blankets the
                                Hazard Zone. ..............................................................................................63

                                a.         Each one of the thousands of annual burn events generates a plume
                                           of material that, depending on wind and weather, can travel for
                                           tens of miles. ..................................................................................63

                                b.         Preliminary modeling based on Florida Forest Service burn records
                                           demonstrates that each Defendant’s burning activity discharges
                                           pollutants that cause or contribute to the injuries alleged by each
                                           Named Plaintiff. .............................................................................75

                      4.        Defendants’ burning is harmful to residents’ health and damages their
                                property. .....................................................................................................86

                                a.         Smoke, particulate matter, and “black snow” from Defendants’
                                           burning settle outside and inside the homes and property of
                                           residents of the Hazard Zone. ........................................................86

                                b.         Health risks of the particles and pollutants emitted by Defendants’
                                           burning ...........................................................................................87

                                           (1)        Defendants’ burning puts residents of the Hazard Zone at
                                                      significantly increased risk of developing lung cancer. ...101

            E.        Defendants refuse to embrace a healthy and cost-effective alternative to sugarcane
                      burning that has been demonstrated to work in Florida .......................................103

   V.       CLASS ACTION ALLEGATIONS ................................................................................108

   VI.      CAUSES OF ACTION ....................................................................................................113

   COUNT I – NEGLIGENCE (PROPERTY OWNER CLASS; AGAINST ALL
       DEFENDANTS) ..............................................................................................................113



                                                                    - ii -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 4 of 131



   COUNT II – STRICT LIABILITY PURSUANT TO FLA. STA. § 376.313 (PROPERTY
       OWNER CLASS; AGAINST ALL DEFENDANTS) ....................................................114

   COUNT III – 42 U.S.C. § 1983 (PROPERTY OWNER CLASS; AGAINST ALL
       DEFENDANTS) ..............................................................................................................116

   COUNT IV – MEDICAL MONITORING (MEDICAL MONITORING CLASS; AGAINST
       ALL DEFENDANTS) .....................................................................................................118

   COUNT V – BATTERY (BATTERY CLASS; AGAINST ALL DEFENDANTS) ..................121

   DEMAND FOR JURY TRIAL ...................................................................................................122

   PRAYER FOR RELIEF ..............................................................................................................122




                                                                 - iii -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 5 of 131



            Plaintiffs William Armstrong, Gloria Atkins, James Brooks, R. Butts, Inc., Clover Coffie,

   Debra Jones, Shante Legrand, Donald Mclean, Robert Reimbold, Elijah Smith, and Linda

   Wilcher (collectively the “Named Plaintiffs”), on behalf of themselves, and all others similarly

   situated, bring this Second Amended Class Action Complaint against Defendants United States

   Sugar Corporation, a Delaware Corporation; Sugar Cane Growers Cooperative of Florida, a

   Florida not for profit corporation; Florida Crystals Corporation, a Delaware corporation;

   Okeelanta Corporation, a Delaware corporation; Osceola Farms, a Florida corporation;

   Sugarland Harvesting Co., a Florida not for profit corporation; Trucane Sugar Corporation, a

   Florida corporation; Independent Harvesting Inc., a Florida corporation; and J & J Ag Products

   Inc., a Florida corporation; to obtain redress for those damaged by Defendants’ sugarcane

   agriculture activities. The allegations in this Complaint are based on the personal knowledge of

   the Named Plaintiffs, as to themselves, and upon the investigation of counsel, who have

   consulted an expert in environmental engineering and air dispersion modeling as well as a

   medical expert.

                                        I.     INTRODUCTION1

            1.       This class action arises from Defendants’ use of an archaic and environmentally

   damaging method of harvest: the burning of vast acreages of sugarcane within and adjacent to



       1
         On May 8, 2020, this Court issued an Order [D.E. 120] dismissing Plaintiffs’ First
   Amended Complaint [D.E. 10] without prejudice, and granting Plaintiffs leave to amend. In
   response to the deficiencies identified in the Court’s May 8 Order, Plaintiffs include the
   following in their Second Amended Complaint: (1) detailed allegations regarding the manner in
   which each named Defendant deposited or caused to be deposited pollutants throughout the
   Hazard Zone, causing injury to each Named Plaintiff and to members of the proposed Classes
   (see infra ¶¶ 139–165 & Exhibit B); and (2) detailed allegations regarding the factual
   underpinnings of Plaintiffs’ medical monitoring claim and specific relief sought (see infra
   ¶¶ 182–187, 237–249). Plaintiffs have also added eight new Named Plaintiffs to this suit,
   expand substantially on the core allegations set forth in the First Amended Complaint, and add a
   claim for battery on behalf of a putative Battery Class, see, e.g., Order on Motion for Class


                                                    -1-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 6 of 131



   this judicial district as part of the pre-harvest process. Defendants are sugar companies and sugar

   growers that together grow much of the sugarcane produced in the United States on

   approximately 400,000 acres along the southern and southeastern shore of Lake Okeechobee.2

            2.       The scope of this burning—on which Defendants rely to clear fields of excess

   organic material, and thus make harvesting more efficient—is staggering: in the ten years

   between 2009 and 2019, Defendants burned approximately 3,244,971 acres of sugarcane field as

   part of 83,382 individual burns in Palm Beach County alone. In 2019, Defendants burned an

   additional 284,615 acres as part of 7,891 fires during the “burn season,” which begins each year

   in October and runs through March—and sometimes as late as May.3 Assuming a six-month

   burn season, this means there were approximately 43 fires per day in 2019.

            3.       Though the overwhelming majority of sugarcane burning in Florida takes place

   within the boundaries of Palm Beach County, Defendants also farm and burn sugarcane in

   Hendry County, Glades County, and Martin County, the other major counties bordering Lake

   Okeechobee. In 2019, for instance, the totals for each county were: Palm Beach (284,615 acres

   burned/7,891 separate fires), Hendry (67,725 acres burned/1,345 separate fires), Glades (24,555

   acres burned/628 separate fires), and Martin (10,341 acres burned/435 separate fires).




   Certification, In re Theranos, Inc., 2:16-cv-2138 (D. Ariz. Mar. 6, 2020) (certifying battery
   claims), as well as a claim for takings under 42 U.S.C. § 1983.
       2
         The major sugarcane producing regions in the United States are in Florida, Louisiana, and,
   to a lesser extent, Texas. Between 2019 and 2020, the three states produced 16,992, 12,243, and
   1,052 short tons of sugarcane, respectively. See U.S. Dep’t of Agric. Econ. Research Serv.,
   Sugar and Sweeteners Outlook for 2019-2020 (Apr. 15, 2020) at 5, available at
   https://www.ers.usda.gov/webdocs/publications/98275/sss-m-380.pdf?v=8422.7.
       3
        These figures are taken from the Florida Forest Service’s burn authorization summary page,
   available at http://tlhforucs02.doacs.state.fl.us/fmis.publicReports/
   BurningAuthorizationsSummary.aspx.


                                                   -2-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 7 of 131



            4.       The communities most damaged by Defendants’ burning—Belle Glade, South

   Bay, Pahokee, Clewiston, Moore Haven, Canal Point, and Indiantown—ring the southern shore

   of Lake Okeechobee, sitting in and among Defendants’ sugarcane fields. The figures below

   show where these communities lie in relation to historical sugarcane burning events. Each red

   dot in Figure 2 represents one of approximately 40,000 individual burns between 2014 and 2018

   alone.




                                  Figure 1: Major communities in the class area




                                                      -3-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 8 of 131




         Figure 2: Visualization of 2014-18 burn events (each square = 1 burn) (black circles correspond to towns
                                                    labeled in Fig. 1)




                                                          -4-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 9 of 131



            5.       Each one of these fires releases large quantities of noxious black smoke in plumes

   that, depending on wind and weather, travel anywhere from a few thousand feet to twenty miles,

   if not more. The scale and scope of these plumes is such that, on a near-daily basis for much of

   the year, Defendants’ burning effectively fumigates and blankets the region. The picture below

   shows one such fire outside of Belle Glade, Florida:




                                           Figure 3: Burn near Belle Glade

            6.       Though burns can vary in size, burn rate, and other factors, the burn event process

   is essentially the same at sugarcane fields throughout the world: the perimeter of the field is

   ignited using diesel or other fuel, and the field then naturally burns. Drone footage4 of one such

   burn illustrates the magnitude of the event:




       4
         The still images below are taken from the following video:
   https://www.youtube.com/watch?v=nC3J750sUMM.


                                                      -5-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 10 of 131




                           Figure 4: Aerial footage of pre-harvest burns




                                              -6-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 11 of 131




                              Figure 5: Aerial photograph of visible burn event in Florida

            7.       This smoke is toxic. It contains a wide range of pollutants, including particulate

   matter (“PM”)5, dioxins, polycyclic aromatic hydrocarbons (“PAHs”), volatile organic

   compounds (“VOCs”), carbon monoxide, sulfur oxides, nitrogen oxides, ammonia, elemental

   carbon, and organic carbon. And it is so ubiquitous that residents of the region have a name for




       5
        As described in detail below, other pollutants are “sorbed” (attached) onto this particulate
   matter, thus allowing them to migrate on to property and people.


                                                         -7-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 12 of 131



   the soot and cane residue that often blankets their homes and cars: “black snow.” The picture

   below shows a car that has been showered with this material:




                                 Figure 6: “Black snow” accumulation on a vehicle

            8.       The people who bear the brunt of this toxic smoke, ash, and particulate matter live

   in and around the areas south and east of Lake Okeechobee and the towns of Belle Glade, South

   Bay, Pahokee, Clewiston, Moore Haven, Canal Point, Indiantown, and others. These are some

   of the poorest communities in Florida.

            9.       The disparate impact of Defendants’ conduct is striking. Current regulations

   promulgated by the State of Florida deny burn permits to sugarcane growers if winds are

   projected to blow smoke and ash plumes toward the more affluent Eastern Palm Beach County

   and Eastern Martin County communities near the coast. And if smoke does blow into these

   areas, residents are advised to take shelter. When smoke from sugarcane burns recently intruded

   into Coral Springs, for example, fire officials encouraged residents with respiratory problems to


                                                      -8-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 13 of 131



   stay indoors, warning that those with chronic heart and lung diseases faced particular risk from

   microscopic particles in smoke that can penetrate deep into the lungs.6

            10.      Meanwhile, burn permits are subject to little scrutiny when the wind blows

   toward the poorer, predominantly non-white residents of Western Palm Beach County, Western

   Martin County, Hendry County, and Glades County, who receive no such warnings from public

   health officials.7

            11.      To the contrary, as many as 60 permits can be approved each day for these areas

   during burn season. The following maps, which the Florida Forest Service produces daily,

   illustrate the projected effect of burns on such days, and project that smoke can travel up to 26




       6
         See Leon Fooksman, Everglades Fires Prompt Fire Officials to Issue Health Warning, TAP
   INTO PARKLAND (Jan. 21, 2020), https://www.tapinto.net/towns/parkland/articles/everglades-
   fires-prompt-fire-officials-to-issue-health-warning.
       7
         Attached as Exhibit A to Plaintiffs’ Second Amended Complaint is a true and correct copy
   of the Florida Forest Service’s “zone definitions and restrictions” for sugarcane burning. These
   generally prohibit burning on days when there are southwest, west, or northwest winds—that is,
   on days when the wind is generally blowing eastwards.


                                                    -9-
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 14 of 131



   miles from each burn. Each point represents an approved burn and the estimated direction that

   smoke and ash will travel:




                                Figure 7: Sample maps of approved daily burns




                                                   - 10 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 15 of 131



            12.      The effect of Defendants’ burning—both individually and cumulatively—is vast.

   Preliminary air dispersion modeling by Plaintiffs demonstrates to a high degree of certainty that

   byproducts from burning conducted by each Defendant impacts receptors8 in all seven

   communities in the class area, and that Defendants’ burning cumulatively exceeds air quality

   standards for several hazardous and/or carcinogenic pollutants at every point modelled in these

   communities as well. In many instances, these exceedances are remarkable: for example, during

   a 24-hour period in Pahokee in 2014, the average PM2.5 value at one receptor was 11,978

   μg/m3—or roughly 340 times the U.S. National Ambient Air Quality Standard (“NAAQS”) of 35

   μg/m3.

            13.      In other words, this modeling demonstrates that smoke and pollutants from each

   Defendant’s burning contributes9 to and causes each Named Plaintiff’s injuries, as well as

   injuring all Class members in the class area.

            14.      More broadly, Plaintiffs’ modeling demonstrates that the harm from Defendants’

   conduct extends well beyond the class area: during the five years (2014-18) modeled,

   approximately 99.8%—or 3,523 of 3,531—of receptors analyzed in a hypothetical 130 km by

   100 km “airshed” overlying the Glades region experienced exceedances of the 24-hr NAAQS

   standard for PM2.5 of 35 μg/m3. Each of the values below shows the 24-hr “high” PM2.5 value for

   that point between 2014 and 2018:




       8
        Receptors are points of impact overlaid on a grid; they are used to model the impacts of air
   pollution on certain places at certain times.
       9
       As discussed infra, Defendant Florida Crystals conducts burning through its subsidiaries,
   which include Defendants Okeelanta, Osceola, and Trucane.


                                                   - 11 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 16 of 131




         Figure 8: NAAQS exceedances for PM2.5 (24-hr) (concentration isopleths denote highest PM2.5 values)

            15.      In other words, Defendants’ sugarcane burning generates quantities of toxic

   particulate matter so immense that, in the period between 2014 and 2018, these amounts

   exceeded U.S. National Ambient Air Quality Standards for PM2.5 in 99.8% of the 13,000-square

   kilometer grid above.

            16.      Defendants’ burning damages property. Smoke and ash—not only toxic “black

   snow,” but equally insidious, invisible, and pollutant-laden particulate matter that the winds can

   carry for tens of miles—accumulates on buildings and property and infiltrates homes, where it

   then recirculates in the air. Because of the damage to real property caused by Defendants’


                                                       - 12 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 17 of 131



   smoke plumes and “black snow,” many homes must be pressure washed annually, and residents

   in the area affected by Defendants’ burning (hereafter the “Hazard Zone”) are forced to change

   the clogged filters in their air conditioning systems far more often than usual. Schools are

   particularly affected: according to the 2019-20 Palm Beach County School District’s budget,

   each of the twelve Palm Beach County schools located in the Hazard Zone receives one

   additional custodian “to assist with the additional cleaning requirements associated with Glades

   muck and burning of sugar cane in the area.”10

            17.      Defendants’ burning also makes both residents and field workers sick. Medical

   research has linked exposure to pre-harvest sugarcane burning to a range of health issues,

   including respiratory diseases like asthma, cancer, kidney disease, and poor infant health

   outcomes. The elderly and children are most at risk.

            18.      Specifically, the spectacularly high amounts of PM2.5 pollution generated by

   Defendants’ burning puts Plaintiffs and members of the Medical Monitoring Class at heightened

   risk of developing lung cancer, and requires a medical monitoring program for residents of the

   region who are above or attain age 40 and have lived through more than one harvest season. As

   explained in more detail infra, the International Agency for Research on Cancer has concluded

   that “[p]articulate matter in outdoor air pollution causes cancer of the lung.” Consistent with

   this, multiple studies have found a dose-response between higher levels of PM2.5 and lung cancer

   incidence.

            19.      Since Plaintiffs filed their First Amended Complaint in 2019, the health risks

   posed by Defendants’ conduct have been drawn into particularly stark relief by the COVID-19


       10
          School District of Palm Beach County, 2019-2020 Budget at 242 (Sept. 11, 2019),
   https://www.palmbeachschools.org/UserFiles/Servers/Server_270532/File/Budget-
   Resources%20&%20Tools/Executive_Summary%20-%20Revised11222019.pdf.


                                                    - 13 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 18 of 131



   crisis. According to a recent study by researchers at Harvard University, an increase of just one

   microgram of particulate matter pollution (or “PM2.5”) per cubic meter of air (or μg/m3) is

   associated with an 8% increase in the COVID-19 death rate.11 As discussed in more detail

   below, PM2.5 is one of the primary byproducts of Defendants’ burning, and those in the Hazard

   Zone are exposed to significantly elevated concentrations of PM2.5 during the burn season. The

   CDC has recently recognized that “[p]eople with or recovering from COVID-19 may have

   diminished lung function and therefore might be at particularly high risk of respiratory health

   effects after exposure to smoke from open burning,” and recommends “implementing a

   temporary ban on open burning as a quick and effective way to reduce smoke exposure for

   people with COVID-19.”12

            20.      But rather than suspend burning or otherwise seek to mitigate the effect of their

   burning on residents of the Hazard Zone (e.g., by creating buffer zones), Defendants have

   continued to burn with abandon during the COVID crisis. The following is a map of approved

   burns for March 17, 2020, just as the full magnitude of the COVID-19 crisis began to come into

   focus:




       11
          See Xiao Wu et al., Exposure to air pollution and COVID-19 mortality in the United
   States: a nationwide cross-sectional study (Preprint), MEDRXIV (Apr. 27, 2020),
   https://www.medrxiv.org/content/10.1101/2020.04.05.20054502v2.
       12
         Centers for Disease Control and Prevention, Open Burning During the Covid-19
   Pandemic, https://www.cdc.gov/coronavirus/2019-ncov/php/openburning.html (last updated
   June 16, 2020).


                                                    - 14 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 19 of 131




                          Figure 9: Approved burns for March 17, 2020




                                            - 15 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 20 of 131



            21.      And here is a map of approved burns for March 31, 2020, just one day before

   Governor Ron DeSantis ordered a state-wide lockdown:




                                   Figure 10: Approved burns for March 31, 2020

            22.      To add insult to injury, pre-harvest burning is no longer necessary. Instead,

   Defendants cling to this increasingly archaic method because they believe it to be cheaper than a

   sustainable alternative, “green harvesting,” a process by which the leaves around the stalks or

   biomass (known as “trash”) are used as mulch. But this is an illusion. Over the last few decades,

   sugarcane growers around the world—including most growers in Brazil, the world’s largest

   sugarcane producer—have increasingly abandoned pre-harvest burning in favor of green

   harvesting, in the process boosting their yields and reducing their dependence on chemical

   fertilizers and pesticides. While Defendants have so far taken the position that this method does

   not work in Florida’s purportedly unique soil, researchers at the University of Florida recently



                                                     - 16 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 21 of 131



   found, after a three-year trial conducted in Belle Glade, that green harvesting produces roughly

   as many tons of sugar as in cane fields that have been burned.13 Other research has echoed this

   finding, concluding that green harvesting would in fact boost Defendants’ profits—which are

   already padded by the nearly $4 billion in federal subsidies the U.S. sugar industry receives each

   year, some of the most generous corporate welfare in the country.

            23.      The affected area for purposes of this action (i.e., the “Hazard Zone”)

   encompasses the towns of Belle Glade, Pahokee/Canal Point, South Bay, Clewiston, Moore

   Haven, and Indiantown, and is defined as that area of Florida contained within the following

   township (“T”) and range (“R”) areas: T39S, R37E; T39S, R38E; T39S, R39E; T40S, R37E;

   T40S, R38E; T40S, R39E; T41S, R32E; T41S, R37E; T41S, R38E; T42S, R30E; T42S, R31E;

   T42S, R32E; T42S, R33E; T42S, R36E; T42S, R37E; T42S, R38E; T43S, R33E; T43S, R34E;




       13
         See Hardev S. Sandhu et al., Harvest management effects on sugarcane growth, yield and
   nutrient cycling in Florida and Costa Rica, 214 FIELD CROPS RESEARCH 253 (2017).


                                                    - 17 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 22 of 131



   T43S, R35E; T43S, R36E; T43S, R37E; T44S, R35E; T44S, R36E; T44S, R37E. A map of the

   Hazard Zone is below:




                                        Figure 11: map of Hazard Zone

                                            II.     PARTIES

   A.       Plaintiffs

            1.       William Armstrong

            24.      Plaintiff William Armstrong (“Armstrong”) is a resident of Glades County,

   Florida. Plaintiff Armstrong resides at and owns real property located at 1136 Dolphin Lane,

   Moore Haven, Florida, 33471 (T42S, R30E). Plaintiff Armstrong has lived at this property since

   he retired approximately six years ago. He and his wife moved to Moore Haven in part because

   they were looking forward to what they thought would be the area’s clean air.




                                                   - 18 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 23 of 131



            25.      Plaintiff Armstrong’s home is several miles to the west of the closest of

   Defendants’ fields. Nevertheless, between two and three days a week—and sometimes more

   often—Plaintiff Armstrong notices black snow/ash fall (which drops like rain from the sky in

   pieces ¼ to ½ inch thick) and smoke from Defendants’ fields, and can see the plumes from these

   burns, which look like explosions, from miles away. On burn days, the whole of the area

   surrounding Plaintiff Armstrong’s home smells like a bonfire, and Plaintiff Armstrong cannot

   have outdoor guests or otherwise engage in the normal use of his property.

            26.      The ash that falls on Plaintiff Armstrong’s home and property has a greasy, sticky

   quality, and will accumulate on any surface, including the railings, deck, and siding; because the

   wind does not blow this material away, it must be washed off. From the gutters down, ash and

   particulate matter leave large black streaks on Plaintiff Armstrong’s home almost constantly

   during the burn season. As a result, Plaintiff Armstrong must pressure wash the exterior of his

   house multiple times a year, and must wash his car at least once a week. This soiling is so

   regular that Plaintiff Armstrong purchased his own pressure washer. Furthermore, the

   unpredictable nature of the black snowfall from Defendants’ burning makes it difficult, if not

   impossible, to know when to repaint a house: because ash and particulate matter stick to

   surfaces, a paint job must be started anew if a “storm” kicks up when paint is still wet.

            27.      This ash and particulate matter are intrusive in other ways. For example, if

   Plaintiff Armstrong does not cover his hot tub, large amounts of ash get into the water and clog

   the filter. Furthermore, an outdoor table on a second floor screened-in porch in Plaintiff

   Armstrong’s home (which the Armstrongs often use as a dinner table) collects so much ash that

   it turns a washcloth black nearly every time it is cleaned. Finally, Plaintiff Armstrong’s




                                                    - 19 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 24 of 131



   neighbors, many of whom own boats, complain that they must wash these boats at least once

   each week to prevent the accumulation of ash and particulate matter.

            28.      The photos below show “black snow” and ash accumulation on Plaintiff

   Armstrong’s home and property:




             Figure 12: Photographs of black snow accumulation on Plaintiff Armstrong’s home and property

            29.      In addition, Plaintiff Armstrong has been and will continue to be exposed to

   hazardous and dangerous pollutants from Defendants’ sugarcane agriculture activities, and is

   concerned about the health effects of Defendants’ sugarcane burns. During the burn season,



                                                       - 20 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 25 of 131



   Plaintiff Armstrong has serious congestion, drainage from his sinuses, and a regular headache.

   To manage these symptoms, Plaintiff Armstrong must use a neti pot each morning, takes sinus

   medications, and uses a CPAP machine at night as well. These symptoms generally go away

   when the burn season ends. Furthermore, when Plaintiff Armstrong’s children (who do not live

   in the Glades region) come to visit during the burn season, they, too, develop congestion.

            30.      All Defendants’ conduct has damaged Plaintiff Armstrong’s property, and has

   also caused or contributed to Plaintiff Armstrong’s loss of use and enjoyment of the same.

            2.       Gloria Atkins

            31.      Plaintiff Gloria Atkins (“Atkins”) is a resident of Hendry County, Florida.

   Plaintiff Atkins resides at and owns real property located at 1117 Kentucky Avenue, Clewiston,

   Florida, 33440 (T43S R34E), which is in close proximity to many of Defendants’ sugarcane

   fields. Plaintiff Atkins has lived in her current home for thirteen years, and has lived in the

   Harlem/Clewiston area for fifteen years.

            32.      For between six and eight months of the year, Plaintiff Atkins is exposed to and

   inhales smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is

   denied the normal use and enjoyment of her property. Plaintiff Atkins smells smoke on her

   property approximately five days each week, and ash falls on her property approximately five

   days per week as well.

            33.      Indeed, the smoke and ash from Defendants’ sugarcane burning are sometimes so

   intrusive that Plaintiff Atkins cannot sit outside, and Plaintiff Atkins has stopped landscaping

   because of the burning. Plaintiff Atkins also cannot barbeque during the burn season because

   ash lands on her food.

            34.      Because of Defendants’ sugarcane burning, Plaintiff Atkins must pressure wash

   her house approximately three times per year, and must paint her home more often, including in


                                                    - 21 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 26 of 131



   2015 and twice in 2017. The increased pressure washing necessitated by Defendants’ sugarcane

   burns also causes the siding on Plaintiff Atkins’ house to deteriorate.

            35.      Plaintiff Atkins has been and will continue to be exposed to hazardous and

   dangerous pollutants from Defendants’ sugarcane agriculture activities.

            36.      All Defendants’ conduct has damaged Plaintiff Atkin’s property, and has also

   caused or contributed to Plaintiff Atkin’s loss of use and enjoyment of the same.

            3.       James Brooks

            37.      Plaintiff James Brooks (“Brooks”) is a resident of Hendry County, Florida.

   Plaintiff Brooks resides at 2109 13th Street, Clewiston, Florida, and also owns real property

   located at 727 Carolina Avenue, Clewiston, Florida (T43S R34E). Both properties are in close

   proximity to many of Defendants’ sugarcane fields.

            38.      For between six and eight months of the year, Plaintiff Brooks is exposed to and

   inhales smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is

   denied the normal use and enjoyment of his property. In fact, on days when Defendants burn

   near Plaintiff Brooks’ 727 Carolina Ave. property, still-lit embers sometimes rain down from the

   fields, which are only approximately 60 yards away.




                                                   - 22 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 27 of 131



            39.      Plaintiff Brooks must pressure wash each property at least twice each year, which

   in turn rips the paint off Plaintiff Brooks’ house and requires regular repainting. Each pressure

   wash costs approximately $250. Plaintiff Brooks estimates that, to properly protect his property

   from the damage caused by Defendants’ burning, he should be pressure washing his homes at

   least four times each year.




                          Figure 13: Photograph of ash/soot accumulation on Plaintiff Brooks’ property

            40.      Soot and ash from Defendants’ sugarcane burning also accumulate on and

   damage Plaintiff Brooks’ car, requiring that he wash it regularly and repaint it. If Plaintiff

   Brooks does not wash his car as soon as possible after a burn, it causes permanent damage to the

   paint. The same material also kills plants: Plaintiff Brooks recalls that constant soot and ash



                                                            - 23 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 28 of 131



   accumulation have killed flowers planted outside his home when they were not washed off

   regularly.

            41.      At some point this past year, Plaintiff Brooks went to Defendant U.S. Sugar’s

   Clewiston headquarters to complain about the damage to his car from the ash from the sugarcane

   burning. When Plaintiff Brooks was finally able to speak to someone, he was rebuffed.

            42.      Plaintiff Brooks would like to add an addition onto his house, but he has not done

   so because he feels like he would lose money. Specifically, Plaintiff Brooks believes that, as a

   result of Defendants’ sugarcane burning, his property would likely not increase in value even

   with an addition that would otherwise enhance its value.

            43.      Plaintiff Brooks has been and will continue to be exposed to hazardous and

   dangerous pollutants from Defendants’ sugarcane agriculture activities. For the past two or three

   years, Plaintiff Brooks has been having problems with his breathing: when he takes a deep

   breath, he starts coughing.

            44.      All Defendants’ conduct has damaged Plaintiff Brooks’ property, and has also

   caused or contributed to Plaintiff Brooks’ loss of use and enjoyment of the same.

            4.       R. Butts, Inc.

            45.      Plaintiff R. Butts, Inc. (“R. Butts”) is a Florida corporation with its principal place

   of business located at 507 SW 3rd Street, Belle Glade, Florida, 33430 (T44S R37E). Plaintiff R.

   Butts operates the Butts Memorial Chapel Funeral & Cremation Services on the property located

   at 507 SW 3rd Street, Belle Glade, FL, and owns the property, which is in close proximity to

   many of Defendants’ sugarcane fields. Plaintiff R. Butts has owned this property and operated

   its funeral home since 2011.

            46.      During burn season, ash and other contaminants from Defendants’ preharvest

   burning is deposited on Plaintiff R. Butts’ building and hearses. As a result, Plaintiff R. Butts


                                                     - 24 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 29 of 131



   must pressure wash the funeral home approximately once per month, paint the funeral home

   more often (as a result of damage to the paint from smoke/ash accumulation and frequent

   pressure washing), and wash burning ash off its hearses almost every day. Defendants’

   preharvest sugarcane burning also increases the maintenance costs on Plaintiff R. Butts’s air

   conditioning units.

            47.      All Defendants’ conduct has damaged Plaintiff R. Butts’s property, and has also

   caused or contributed to Plaintiff R. Butts’s loss of use and enjoyment of the same.

            5.       Clover Coffie

            48.      Plaintiff Clover Coffie (“Coffie”) is a resident of Palm Beach County, Florida.

   Plaintiff Coffie resides at and owns real property located at 34 NE Avenue H, Belle Glade,

   Florida 33430 (T43S, R37E), which is in close proximity to many of Defendants’ sugarcane

   fields. Plaintiff Coffie has owned his home since 2002. Plaintiff Coffie also owns real property

   located at the following addresses, all of which are in Belle Glade: 520 SW 5th Street, 528 SW

   7th Street, 524 SW 7th Street, 1501 NW Avenue F, and 1508 NW Avenue F.

            49.      For between six and eight months of the year, Plaintiff Coffie is exposed to and

   inhales smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is

   denied the normal use and enjoyment of his property. The fields closest to Plaintiff Coffie’s

   property are approximately three blocks away; other fields are approximately 300-400 yards

   away.

            50.      Plaintiff Coffie estimates that, during burn season, ash from Defendants’

   preharvest sugarcane burning falls on his property approximately five days per week for several

   hours each day. As a result of this burning, Plaintiff Coffie’s wife must clean this ash off of their

   home’s patio almost every day, and Plaintiff Coffie must wash his car approximately once a




                                                    - 25 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 30 of 131



   week. Plaintiff Coffie is also forced to pressure wash and paint his home more often, and must

   pay someone to clean ash out of his pool approximately once a month.

            51.      All Defendants’ conduct has damaged Plaintiff Coffie’s property, and has also

   caused or contributed to Plaintiff Coffie’s loss of use and enjoyment of the same.

            6.       Debra Jones

            52.      Plaintiff Debra Jones (“Jones”) is a resident of Palm Beach County, Florida.

   Plaintiff Jones resides at and owns real property located at 140 Banyan Avenue, Pahokee, Florida

   33476 (T42S R37E), which is approximately half a mile from many of Defendants’ sugarcane

   fields. Plaintiff Jones has lived at this property since 2005, and currently lives there with her

   son, daughter, and husband.

            53.      During the burn season Plaintiff Jones is exposed to and smells smoke on her

   property every day, and ash from Defendants’ sugarcane burning falls on her property between

   two and three days each week, depending on the wind. The consequences of Defendants’

   burning has many serious negative impacts on Plaintiff Jones’ daily life, as well as on her family

   members. During the burn season, Plaintiff Jones has breathing problems, itchy eyes, and

   sneezes and coughs often. As a result, when Defendants burn sugarcane, Plaintiff Jones

   generally has to stay inside her house. To prevent the onset of similar respiratory symptoms, all

   four members of the Jones family generally take their clothes off and wash them upon entering

   the house.

            54.      All four members of the Jones family are affected by Defendants’ burning.

   Plaintiff Jones estimates that she, her husband, her daughter—who has been diagnosed with

   asthma—and her son must use a nebulizer approximately three times a day during the burn

   season to manage their respiratory issues, and must also take medicine to manage their

   symptoms; by contrast, Plaintiff Jones estimates that she uses her nebulizer approximately once


                                                   - 26 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 31 of 131



   every other day during the non-burn season. In fact, according to Plaintiff Jones, each member

   of the family has his/her own nebulizer. Sometimes, when Plaintiff Jones cannot afford the

   medication the doctor prescribes for her respiratory symptoms (which her insurance company

   will not pay for), she takes Zyrtec instead.

            55.      Ash and smoke from Defendants’ sugarcane burning have caused issues with

   Plaintiff Jones’ landscaping, damaged the exterior paint on her house, and caused her roof to turn

   black in some spots. Regular ash and particulate matter accumulation cause long, black streaks

   to form on the side of Plaintiff Jones’ house, which makes it look dirty. As a result, during the

   burn season, Plaintiff Jones must pay someone to wash her car once every other week, must

   pressure wash her house and sidewalk approximately once a month during the burn season

   (which costs approximately $150 for each wash), and cannot hang her laundry outside to dry.

   Although Plaintiff Jones’ neighbors have the same problems, some cannot afford the monthly

   expenses associated with cleaning and pressure washing.

            56.      Furthermore, black snow from Defendants’ sugarcane burns regularly falls on

   Plaintiff Jones’ garden, which includes greens, tomatoes, turnips, okra, and scallions. Plaintiff

   Jones is concerned about the health effects for her and her family of ingesting the sugarcane ash;

   as a result, she now usually only plants a garden during the non-burn season.

            57.       Plaintiff Jones has been and will continue to be exposed to hazardous and

   dangerous pollutants from Defendants’ sugarcane agriculture activities and, as a result, is

   concerned about developing cancer—in part because her family members have asthma and other

   breathing difficulties, and her husband has cancer.

            58.      All Defendants’ conduct has damaged Plaintiff Jones’ property, and has also

   caused or contributed to Plaintiff Jones’ loss of use and enjoyment of the same.




                                                    - 27 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 32 of 131



            7.       Shante Legrand

            59.      Plaintiff Shante Legrand (“Legrand”) resides at 1501 Calusa Drive, Apt. 12105,

   Belle Glade, Florida, 33430 (T44S, R37E).

            60.      Plaintiff Legrand’s apartment is immediately across the street from Defendants’

   sugarcane fields. During the burn season, Defendants’ burn their fields multiple times each

   week, thus causing smoke to inundate the area in and around Plaintiff Legrand’s apartment

   building.

            61.      Plaintiff Legrand has two minor children who live with her: an eight-year-old

   daughter and a three-year-old son. Both children were diagnosed with asthma at approximately

   one-year old, and must use a nebulizer approximately three times per day; in addition to the

   nebulizer, Plaintiff Legrand’s daughter also uses an albuterol inhaler for her asthma. Plaintiff

   Legrand must generally keep her children inside during Defendants’ burns; if she has to work,

   she takes them to her parents’ or grandparents’ house, where they must stay inside. The primary

   care provider who treats Plaintiff Legrand’s children has told her that her children should remain

   inside to avoid the smoke created by Defendants’ burns.

            62.      At times during the burning season—Plaintiff Legrand estimates approximately

   five times each year—Plaintiff Legrand’s children have asthma symptoms so severe that they

   cannot go to school. On these days, Plaintiff Legrand notices that her daughter’s and son’s eyes

   are watery, and their coughing becomes so intense that they sometimes gag. To alleviate these

   symptoms, which are so distracting that they prevent Plaintiff Legrand’s children from attending

   school, Plaintiff Legrand brings her children to a relative’s house, where they must then be

   treated every four hours with albuterol. Plaintiff Legrand is also aware of other children at the

   same school who suffer from asthma.




                                                   - 28 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 33 of 131



            8.       Donald Mclean

            63.      Plaintiff Donald Mclean (“Mclean”) is a resident of Palm Beach County, Florida.

   Plaintiff Mclean resides at and owns real property located at 490 1st Street, South Bay, Florida,

   33493 (T44S, R36E), which is in close proximity to many of Defendants’ sugarcane fields.

   Plaintiff Mclean has lived in the Hazard Zone for thirty-five years.

            64.      During the burn season, sugarcane ash and smoke intrude on Plaintiff Mclean’s

   property almost every day. As a result, Plaintiff Mclean is exposed to and inhales smoke and

   particulate matter from Defendants’ burns, cannot escape this exposure, and is denied the normal

   use and enjoyment of his property. Plaintiff Mclean must hire someone to pressure wash his

   house approximately twice each month during burn season, has deferred painting his house, and

   is forced to wash his car approximately two times per week. Ash from Defendants’ burning also

   drops onto Plaintiff Mclean’s garden, where he grows mint, fruit, and scotch bonnet peppers.

            65.      All Defendants’ conduct has damaged Plaintiff Mclean’s property, and has also

   caused or contributed to Plaintiff Mclean’s loss of use and enjoyment of the same.

            9.       Robert Reimbold

            66.      Plaintiff Robert Reimbold (“Reimbold”) is a resident of Glades County, Florida.

   Plaintiff Reimbold resides at and owns real property located at 2200 Williams Rd., Moore

   Haven, Florida, 33471 (T42S, R30E), which is in close proximity to many of Defendants’

   sugarcane fields. Plaintiff Reimbold has lived at this address for approximately twenty-five

   years.

            67.      For six to eight months of the year, Plaintiff Reimbold is exposed to and inhales

   smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is denied

   the normal use and enjoyment of his property. During the burn season, Plaintiff Reimbold

   smells smoke from his property approximately two days each week, and ash from Defendants’


                                                    - 29 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 34 of 131



   burning falls on his property approximately three to four days each week. Plaintiff Reimbold

   must pressure wash his house one to two times per year, and must clean the ash that is tracked

   (by foot) into his house.

            68.      As a result of Defendants’ burning, Plaintiff Reimbold estimates that he must

   wash his boat approximately twenty to thirty times more often than he would otherwise, which in

   turn washes the wax off the boat and causes its paint to degrade more quickly—thus ultimately

   forcing Plaintiff Reimbold to repaint his boat roughly twice as often as would otherwise be

   required (specifically, every seven to eight years, as opposed to every fifteen years under regular

   conditions). The black snow from Defendants’ burning also soils the canvas on Plaintiff

   Reimbold’s boat, which must then be periodically replaced.

            69.      All Defendants’ conduct has damaged Plaintiff Reimbold’s property, and has also

   caused or contributed to Plaintiff Reimbold’s loss of use and enjoyment of the same.

            10.      Elijah Smith

            70.      Plaintiff Elijah Smith (“Smith”) is a resident of Hendry County, Florida. Plaintiff

   Smith resides at and owns real property located at 1006 Virginia Avenue, Clewiston, Florida,

   33440 (T43S, R34E), which is in close proximity to many of Defendants’ sugarcane fields.

   Plaintiff Smith has lived at this address for approximately forty years, and has lived in the area

   since 1961. Plaintiff Smith also owns real property at the following two addresses in Clewiston:

   801 Maryland Ave., and 714 Mississippi Ave.

            71.      For six to eight months of the year, Plaintiff Smith is exposed to and inhales

   smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is denied

   the normal use and enjoyment of his property. During the burn season, ash from Defendants’

   sugarcane burning rains down on Plaintiff Smith’s property and car between four and five days




                                                    - 30 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 35 of 131



   per week. As a result, Plaintiff Smith must wash his car once per week, and must pressure wash

   his home more often than he otherwise would.

            72.      All Defendants’ conduct has damaged Plaintiff Smith’s property, and has also

   caused or contributed to Plaintiff Smith’s loss of use and enjoyment of the same.

            11.      Linda Wilcher

            73.      Plaintiff Linda Wilcher (“Wilcher”) is a resident of Palm Beach County, Florida.

   Plaintiff Wilcher resides at and owns real property located at 235 NW 10th Ave, South Bay,

   Florida, 33493 (T44S, R36E), which is in close proximity to many of Defendants’ sugarcane

   fields. Plaintiff Wilcher has lived at this address for approximately eight years, and has lived in

   the Glades area her whole life.

            74.      For six to eight months of the year, Plaintiff Wilcher is exposed to and inhales

   smoke and particulate matter from Defendants’ burns, cannot escape this exposure, and is denied

   the normal use and enjoyment of her property. Almost every day during burn season, Plaintiff

   Wilcher smells smoke from Defendants’ burns, and ash rains down on her property for between

   four and eight hours. As a result of Defendants’ burning, Plaintiff Wilcher must also (1) clean

   her house more often; (2) have someone wash her car approximately four to five times per week;

   (3) and have the exterior of her house pressure washed regularly during the burn season. Like

   other Named Plaintiffs, Plaintiff Wilcher has also had to delay painting her house because of

   Defendants’ burning.

            75.      Plaintiff Wilcher has been and will continue to be exposed to hazardous and

   dangerous pollutants from Defendants’ sugarcane agriculture activities, which have harmed her

   health. Sometimes, when the burning gets very bad, Plaintiff Wilcher must leave South Bay and

   stay with family in Georgia for between two and three months. Plaintiff Wilcher has been on




                                                    - 31 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 36 of 131



   oxygen for approximately ten years, and has to leave her house every day, even when there is a

   lot of smoke and ash, in order to receive dialysis.

            76.      All Defendants’ conduct has damaged Plaintiff Wilcher’s property, and has also

   caused or contributed to Plaintiff Wilcher’s loss of use and enjoyment of the same.

   B.       Defendants

            1.       United States Sugar Corporation

            77.      Defendant United States Sugar Corporation (“U.S. Sugar”) is a Delaware

   corporation with its principal place of business located at 111 Ponce De Leon Avenue,

   Clewiston, FL 33440.

            78.      At all relevant times Defendant U.S. Sugar, and/or its subsidiaries, agents, and

   entities over which it exercised operational control (including Defendant Sugarland), conducted

   sugarcane cultivation activities, including burning of sugarcane fields and sugarcane waste

   material in the Hazard Zone and adjacent to the Hazard Zone, that damaged Named Plaintiffs

   and Class members. Defendant deposited or caused to be deposited particulate matter and black

   snow throughout the Hazard Zone, causing injury to each Named Plaintiff and to members of the

   proposed Classes.

            79.      Defendant U.S. Sugar managed, directed, and/or conducted its subsidiaries’

   operations specifically related to sugarcane burning, including those subsidiaries’ decisions

   regarding what, where, when, and/or whether to burn.

            2.       Sugar Cane Growers Cooperative of Florida

            80.      Defendant Sugar Cane Growers Cooperative of Florida (“SCGC”) is a Florida not

   for profit corporation with its principal place of business located at 1500 West Sugarhouse Road,

   Belle Glade, FL 33430. Defendant SCGC is composed of approximately 44 member farms that

   cultivate sugarcane on approximately 70,000 acres in the area south of Lake Okeechobee.


                                                    - 32 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 37 of 131



            81.      At all relevant times Defendant SCGC, by and through its constituent member

   farms, conducted sugarcane cultivation activities, including burning of sugarcane fields and

   sugarcane waste material in the Hazard Zone and adjacent to the Hazard Zone, that damaged

   Named Plaintiffs and Class members. Defendant deposited or caused to be deposited particulate

   matter and black snow throughout the Hazard Zone, causing injury to each Named Plaintiff and

   to members of the proposed Classes.

            82.      Defendant SCGC managed, directed, and/or conducted its members’ operations

   specifically related to sugarcane burning, including those subsidiaries’ decisions regarding what,

   where, when, and/or whether to burn.

            3.       Florida Crystals Corporation

            83.      Defendant Florida Crystals Corporation (“Florida Crystals”) is a Delaware

   corporation with its principal place of business located at One North Clematis Street, Suite 200,

   West Palm Beach, FL 33401.

            84.      At all relevant times Defendant Florida Crystals, though its subsidiaries, agents,

   and entities over which it exercised operational control (including Defendants Okeelanta,

   Osceola, and Trucane), conducted sugarcane cultivation activities, including burning of

   sugarcane fields and sugarcane waste material in the Hazard Zone and adjacent to the Hazard

   Zone, that damaged Named Plaintiffs and Class members. Defendant deposited or caused to be

   deposited particulate matter and black snow throughout the Hazard Zone, causing injury to each

   Named Plaintiff and to members of the proposed Classes.

            85.      Defendant Florida Crystals Defendant managed, directed, and/or conducted its

   subsidiaries’ operations specifically related to sugarcane burning, including those subsidiaries’

   decisions regarding what, where, when, and/or whether to burn.




                                                    - 33 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 38 of 131



            4.       Okeelanta Corporation

            86.      Defendant Okeelanta Corporation (“Okeelanta”) is a Delaware corporation with

   its principal place of business location at One North Clematis Street, Suite 200, West Palm

   Beach, FL 33401. On information and belief, Defendant Okeelanta is a subsidiary of Defendant

   Florida Crystals.

            87.      At all relevant times Defendant Okeelanta, and/or its subsidiaries, agents, and

   entities over which it exercised operational control, conducted sugarcane cultivation activities,

   including burning of sugarcane fields and sugarcane waste material in the Hazard Zone and

   adjacent to the Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant

   deposited or caused to be deposited particulate matter and black snow throughout the Hazard

   Zone, causing injury to each Named Plaintiff and to members of the proposed Classes.

            5.       Osceola Farms

            88.      Defendant Osceola Farms is a Florida corporation with its principal place of

   business location at One North Clematis Street, Suite 200, West Palm Beach, FL 33401. On

   information and belief, Defendant Osceola Farms is a subsidiary of Defendant Florida Crystals.

            89.      At all relevant times Defendant Osceola Farms, and/or its subsidiaries, agents, and

   entities over which it exercised operational control, conducted sugarcane cultivation activities,

   including burning of sugarcane fields and sugarcane waste material in the Hazard Zone and

   adjacent to the Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant

   deposited or caused to be deposited particulate matter and black snow throughout the Hazard

   Zone, causing injury to each Named Plaintiff and to members of the proposed Classes.




                                                    - 34 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 39 of 131



            6.       Sugarland Harvesting Co.

            90.      Defendant Sugarland Harvesting Co. (“Sugarland”) is a Florida not for profit

   corporation with its principal place of business location at 1023 Fox Lane, Moore Haven, FL

   33471. On information and belief, Defendant Sugarland is a subsidiary of Defendant U.S. Sugar.

            91.      At all relevant times Defendant Sugarland, and/or its subsidiaries, agents, and

   entities over which it exercised operational control, conducted sugarcane cultivation activities,

   including burning of sugarcane fields and sugarcane waste material in the Hazard Zone and

   adjacent to the Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant

   deposited or caused to be deposited particulate matter and black snow throughout the Hazard

   Zone, causing injury to each Named Plaintiff and to members of the proposed Classes.

            7.       Trucane Sugar Corporation

            92.      Defendant Trucane Sugar Corporation (“Trucane”) is a Florida corporation with

   its principal place of business location at 625 N. Flagler Drive, Suite 507, West Palm Beach, FL

   44301. On information and belief, Defendant Trucane is a subsidiary of Defendant Florida

   Crystals.

            93.      At all relevant times Defendant Trucane, and/or its subsidiaries, agents, and

   entities over which it exercised operational control, conducted sugarcane cultivation activities,

   including burning of sugarcane fields and sugarcane waste material in the Hazard Zone and

   adjacent to the Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant

   deposited or caused to be deposited particulate matter and black snow throughout the Hazard

   Zone, causing injury to each Named Plaintiff and to members of the proposed Classes.




                                                    - 35 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 40 of 131



            8.       Independent Harvesting, Inc.

            94.      Defendant Independent Harvesting Inc. (“Independent Harvesting”) is a Florida

   corporation with its principal place of business located at US Highway 27 South, Moore Haven,

   FL 33471.

            95.      At all relevant times Defendant Independent Harvesting, and/or its subsidiaries,

   agents, and entities over which it exercised operational control, conducted sugarcane cultivation

   activities, including burning of sugarcane fields and sugarcane waste material in the Hazard Zone

   and adjacent to the Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant

   deposited or caused to be deposited particulate matter and black snow throughout the Hazard

   Zone, causing injury to each Named Plaintiff and to members of the proposed Classes.

            9.       J & J Ag Products, Inc.

            96.      Defendant J & J Ag Products Inc. (“J & J”) is a Florida corporation with its

   principal place of business located at 1813 Davidson Rd., Clewiston, FL 33440.

            97.      At all relevant times Defendant J & J, and/or its subsidiaries, agents, and entities

   over which it exercised operational control, conducted sugarcane cultivation activities, including

   burning of sugarcane fields and sugarcane waste material in the Hazard Zone and adjacent to the

   Hazard Zone, that damaged Named Plaintiffs and Class members. Defendant deposited or

   caused to be deposited particulate matter and black snow throughout the Hazard Zone, causing

   injury to each Named Plaintiff and to members of the proposed Classes.

                                  III.    JURISDICTION AND VENUE

            98.      This Court has subject matter jurisdiction over this class action pursuant to the

   Class Action Fairness Act of 2005 (CAFA) and 28 U.S.C. § 1332(d). The matter in controversy,

   exclusive of interest and costs, exceeds the sum or value of $5,000,000, there exists minimal

   diversity between parties in that the majority of Class members are citizens of Florida, at least


                                                     - 36 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 41 of 131



   one Defendant is incorporated and has its principal place of business in a state other than Florida,

   and there are over 100 putative Class members. The Court also has federal question jurisdiction

   under 28 U.S.C.A. § 1331, as Plaintiffs assert a claim for taking under 42 U.S.C. § 1983.

            99.      This Court has personal jurisdiction over Defendants because Defendants conduct

   substantial activities, including the conduct causing harm to Named Plaintiffs and Class

   members, in Florida and this District and have sufficient contacts in Florida and this District to

   permit the exercise of jurisdiction by this Court.

            100.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (c)

   because a substantial part of the events or omissions giving rise to Named Plaintiffs’ and Class

   members’ claims occurred in this District. Venue is also proper under 18 U.S.C. § 1965(a)

   because Defendants transact substantial business in this District.

                                   IV.     GENERAL ALLEGATIONS

   C.       History of Defendants’ sugarcane agriculture

            101.     Florida’s sugar industry is an accident of history. Before 1900, most of the more

   than 400,000 acres on which sugarcane is now grown in Florida were part of the Everglades.

   But beginning in the early 20th century, much of the wetlands along Lake Okeechobee’s south

   shore were drained and turned into farmland.

            102.     The cultivation of sugarcane in the region got off to a slow start. In 1931, Charles

   Stuart Mott purchased assets near Clewiston, Florida, from the bankrupt Southern Sugar

   Company and formed Defendant U.S. Sugar. Before 1959, however, only 50,000 acres of

   sugarcane were grown in Florida, most of them by U.S. Sugar.

            103.     The 1959 Cuban revolution jump-started sugar cultivation and production in the

   United States. After the revolution, the U.S. government imposed an economic embargo on

   Cuba—formerly a major producer and exporter of sugar—and lifted restrictions on domestic


                                                    - 37 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 42 of 131



   sugar production. U.S. Sugar subsequently expanded and, in 1960, Defendant SCGC was

   founded.

            104.     Furthermore, in 1960, brothers Alfonso “Alfy” and Jose “Pepe” Fanjul

   immigrated to Palm Beach County, Florida from Cuba, where their family had built and

   established a sugar empire dating back to the 19th Century. At the time, the family company,

   Fanjul Corp., consisted of many large businesses, including sugarcane mills, refineries,

   distilleries, and real estate, and was Cuba’s largest sugar producer. The brothers re-founded their

   business upon their arrival in the United States and grew it rapidly.

            105.     By the mid-1960s, sugarcane was a major industry in southern Florida: more than

   200,000 acres of sugarcane were planted, and eight mills had opened.

            106.     This growth has continued to the present. Since the late 1990s, approximately

   450,000 of acres of sugarcane have been planted annually in Florida, of which roughly 90% is

   grown in western Palm Beach County. More sugar is produced in Florida than anywhere else in

   the United States.

            107.     And today, Defendants Florida Crystals, U.S. Sugar, and SCGC remain the major

   sugarcane growers in Florida.

            108.     Defendant U.S. Sugar currently farms over 230,000 acres of land in the counties

   of Hendry, Glades, and Palm Beach. It is the largest producer of sugarcane in the United States

   by volume, producing over 700,000 tons of raw sugar per year. It is also a large sugar refiner

   and, on information and belief, owns and operates Defendant Sugarland as a subsidiary.

            109.     Defendant SCGC is now composed of 44 members/grower-owners who

   collectively farm sugarcane on approximately 70,000 acres.




                                                   - 38 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 43 of 131



            110.     The Fanjul brothers currently own approximately 190,000 acres14 in Palm Beach

   County, where they farm sugarcane, as well as sweet corn and rice. Meanwhile, Fanjul Corp.

   has grown into a sugar and real estate empire in both the United States and the Dominican

   Republic. Its primary company holdings include Defendants Florida Crystals, as well as Domino

   Sugar, C+H Sugar, Redpath Sugar, American Sugar Refining, La Romana International Airport,

   and numerous resorts in La Romana, Dominican Republic. The company is worth an estimated

   $8.2 billion and is the third largest private company in Florida.

            111.     Of these various Fanjul holdings, Defendant Florida Crystals has the closest ties

   to the Hazard Zone: the company farms approximately 187,000 acres of sugarcane and produces

   over 660,000 tons of sugar per year. On information and belief, Defendants Okeelanta, Osceola,

   and Trucane are subsidiaries of Defendant Florida Crystals.

            112.     Together, Defendants Florida Crystals, U.S. Sugar, and SCGC have come to be

   known as “Big Sugar” for their production, profitability, and political clout. Together, they own

   and/or operate—either directly or through their subsidiaries—the overwhelming majority of land

   on which sugarcane is farmed in the Hazard Zone.

            113.     But this influence comes at a substantial price to all but a select few. A recent

   report estimates that the U.S. sugar industry costs taxpayers approximately $4 billion each year




       14
          In total, the Fanjuls own approximately 400,000 acres of sugar plantations worldwide,
   approximately half of which are in Florida and half of which are in the Dominican Republic.
   The latter allow Fanjul Corp. to be one of the top sugar exporters to the United States, with 63%
   of the Dominican Republic’s sugar exports attributable to the Fanjul sugar empire. Fanjul
   Corp.’s subsidiary companies in the Dominican Republic sell sugar to Fanjul Corp.’s subsidiary
   companies in the United States. The Fanjuls also operate two sugar mills, a sugar refinery, a rice
   mill, a packaging and distribution center for various items, and the largest biomass renewable
   power plant in North America, all of which are in Palm Beach County, Florida.


                                                     - 39 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 44 of 131



   in market allotments,15 import quotas,16 and price supports17 (or roughly $50/year for a family of

   four), and that these same subsidies are a net job killer—leading to “reductions in U.S.

   manufacturing employment opportunities in the order of 10,000 to 20,000 jobs every year.”18

   Defendants spend prolifically on lobbying and political contributions: in each of the past five

   years, the sugar cane and sugar beet industry has spent more than $10 million annually on



       15
          The U.S. sugar market is divided into delegated allotments, and sugar produced beyond
   these allotments is blocked from sale—thus forcing prices higher and eliminating the need for
   competition by producers. Specifically, allotments are made between cane and beet sugar, then
   divided between each company that markets these products. For example, for the fiscal year
   2019, Defendants Florida Crystals (the brand name of Defendant Okeelanta), SCGC, and U.S.
   Sugar were allocated a collective 2,554,794 (or 1,051,876, 459,570, and 1,043,348, respectively)
   short tons (raw value). See U.S. Dep’t of Agric. Farm Serv. Agency, USDA Announces Fiscal
   Year 2019 Sugar Loan Rates, Allotment and Marketing Allocations (Sept. 28, 2018),
   https://www.fsa.usda.gov/news-room/news-releases/2018/nr_2018_0928_rel_0148.
       16
          The USDA establishes annual quota volumes, pursuant to which a certain quantity of sugar
   is allowed to enter the U.S. under a low tariff; only sugar subject to high tariffs may enter the
   U.S. in unlimited quantities, thus restricting supply and inflating prices. These tariffs apply to
   imports of raw cane sugar, refined sugar, sugar syrups, specialty sugars, and sugar containing
   products. U.S. Dep’t of Agric. Foreign Agric. Serv., Sugar Import Program, ,
   https://www.fas.usda.gov/programs/sugar-import-program (last visited May 30, 2020).
       17
          Price supports are provided through a nonrecourse loan program authorized by the 2014
   Farm Bill. Pursuant to this program, loans are made to sugar processors at a predetermined price
   per pound for every pound of sugar provided as collateral; if the processor cannot obtain a higher
   price on the market, it can forfeit sugar to the U.S. government as full repayment for the loan.
   See U.S. Dep’t of Agric. Econ. Research Serv., Policy,
   https://www.ers.usda.gov/topics/crops/sugar-sweeteners/policy.aspx#price (last updated April 7,
   2020). Because processors simply forfeit their sugar if the market price dips below the
   government-set price, the latter effectively serves as a price target for the USDA, which in turn
   must supply the sufficient restriction of domestic supply. See Colin Grabow, Candy-Coated
   Cartel: Time to Kill the U.S. Sugar Program, Policy Analysis No. 837, CATO INSTITUTE (Apr.
   10, 2018), https://www.cato.org/publications/policy-analysis/candy-coated-cartel-time-kill-us-
   sugar-program.
       18
          Vincent H. Smith, The U.S. spends $4 billion a year subsidizing ‘Stalinist-style’ domestic
   sugar production, MARKETWATCH (June 26, 2018), https://www.marketwatch.com/story/the-us-
   spends-4-billion-a-year-subsidizing-stalinist-style-domestic-sugar-production-2018-06-25; see
   also John C. Beghin & Amani Elobeid, Analysis of the US Sugar Program, American Enterprise
   Institute (Nov. 2017), available at https://www.aei.org/research-products/report/analysis-of-the-
   us-sugar-program/; Grabow, supra note 17.


                                                 - 40 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 45 of 131



   lobbying,19 and contributed a total of approximately $5.5, $7.2, and $8.5 million to political

   candidates in the 2020, 2018, and 2016 election cycles, respectively.20 It is estimated that “[t]he

   welfare transfer to sugar growers and processors is quite large in the aggregate, hovering around

   $1.2 billion.”21

             114.     The harm from these subsidies stretches far and wide. U.S. consumers pay, on

   average, approximately 50% more for sugar than consumers elsewhere in the world,22 as a result




       19
          OpenSecrets.org, Sugar Cane & Sugar Beets: Lobbying, 2019, Center for Responsive
   Politics, https://www.opensecrets.org/industries/lobbying.php?ind=A1200 (last visited May 31,
   2020).
       20
          OpenSecrets.org, Sugar Cane & Sugar Beets: Long-Term Contribution Trends, Center for
   Responsive Politics, https://www.opensecrets.org/industries/totals.php?cycle=2020&ind=A1200
   (last visited May 31, 2020).
       21
            Beghin & Elobeid, supra note 18.
       22
            See Smith, supra note 18.


                                                   - 41 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 46 of 131



   of which Florida’s sugar industry pockets hundreds of millions of dollars in extra profit each

   year:23




                                   Figure 14: Sugar prices (in cents/pound)

             115.    Meanwhile, Fanjul-owned company Central Romana—the biggest employer and

   landowner in the Dominican Republic—enjoys a uniquely privileged position among sugar

   importers. According to 2015 reporting by Al Jazeera, 17 percent of the tariff rate quota (or

   amount of sugar a country can export to the U.S. subject to reduced tariffs) is allocated to the



       23
         In comments submitted to the EPA in 2015, the nonprofit organization Earthjustice
   estimated that, in 2014, Defendants Okeelanta and U.S. Sugar received an estimated $92 and $90
   million in profits, respectively, thanks to these subsidies. See Comments by Earthjustice on
   Behalf of the Sierra Club on the Draft Title V Air Operation Permit Renewal for the United
   States Sugar Corporation’s Clewiston Facility (Facility ID No. 0510003) (July 10, 2015) at 17
   (“Earthjustice U.S. Sugar Comments”); Comments by Earthjustice on Behalf of Sierra Club on
   the Draft/Proposed Title V Air Operation Permit Renewal for the Okeelanta Corporation’s
   Okeelanta Sugar Mill and Refinery (Facility ID No. 0990005) and the New Hope Power
   Company’s Okeelanta Cogeneration Plant (Facility ID No. 0990332) (April 14, 2015) at 15
   (“Earthjustice Okeelanta Comments”).


                                                   - 42 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 47 of 131



   Dominican Republic—the most of any country—63 percent of which is allocated to Central

   Romana.24 A 2013 investigation by the U.S. Department of Labor found

             evidence of apparent and potential violations of labor law in the Dominican sugar
             sector concerning (1) acceptable conditions of work with respect to minimum
             wages, hours of work, and occupational safety and health, such as payments below
             the minimum wage, 12-hour work days, seven-day work weeks, lack of potable
             water, and the absence of safety equipment; (2) a minimum age for the employment
             of children and the prohibition and elimination of the worst forms of child labor;
             and (3) a prohibition on the use of any form of forced or compulsory labor.25

             116.    And closer to home, Defendants today continue—despite their receipt of generous

   federal subsidies that ensure evergreen profits—to employ an anachronistic method of sugarcane

   harvest that rains toxic ash down on some of Florida’s poorest communities, even as COVID-19

   has rendered these communities particularly fragile.

   D.        The sugarcane burning process and its effects

             1.      Defendants burn hundreds of thousands of acres of sugarcane each year.

             117.    A typical sugarcane harvest in Florida yields approximately 17 million tons of

   pure sugarcane, which in turn is milled, processed, and otherwise produced into approximately

   two million tons of sugar.

             118.    Before harvesting sugarcane stalks, Defendants first burn their crop. This process

   consists of setting large fires to whole sugarcane fields to burn off the outer leaves from the cane

   stalks. Because the stalks are full of water, they do not ignite or burn.


        24
         See Amy Bracken, A sweet deal: The royal family of cane benefits from political giving,
   AL JAZEERA AMERICA (July 23, 2015), http://america.aljazeera.com/multimedia/2015/7/fanjul-
   family-benefits-political-donations.html.
        25
         See U.S. Dep’t of Labor, News Release, US Labor Department Issues Report on Labor
   Concerns in Dominican Sugar Sector, Announces $10 Million Project in Agriculture (Sept. 27,
   2013), https://www.dol.gov/newsroom/releases/ilab/ilab20130927; see also Amy Bracken,
   Blood, sweat and sugar: Trade deal fails Haitian workers on DR plantations, AL JAZEERA
   AMERICA (July 16, 2015), http://america.aljazeera.com/multimedia/2015/7/blood-sweat-and-
   sugar-trade-deal-fails-haitian-workers-in-dr.html.


                                                    - 43 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 48 of 131



            119.     Pre-harvest burning occurs primarily during a six- to eight-month period that

   begins in October and ends between March and May. The volume of this burning is staggering

   in its volume and frequency: in the ten years between 2009 and 2019, Defendants burned

   approximately 3,244,971 acres of sugarcane field as part of 83,382 individual burns in Palm

   Beach County alone, as well as hundreds of thousands more in Hendry, Glades, and Martin

   counties. In 2019, Defendants burned an additional 284,615 acres in Palm Beach County as part

   of 7,891 fires during the “burn season,” or approximately 43 fires each day. On some days, as

   many as 60 permits can be approved.

            120.     Defendants burn sugarcane because they believe this is the cheapest and fastest

   way to harvest and process it. Specifically, pre-harvest burning is done: (a) to facilitate the

   harvesting process by quickly and cheaply removing the excess leaves around the stalks or

   biomass (referred to in the industry as the “trash”); (b) to reduce dangers from snakes and

   insects; and (c) to increase the sugar content of the stalk by water evaporation.




                                                    - 44 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 49 of 131



            121.     A burn event is generally the same at sugarcane fields throughout the world, and

   follows a simple process: first, the perimeter of the field is ignited using diesel (or some other

   accelerant); then, the field itself naturally burns.




                                       Figure 15: Aerial view of burn event

            122.     Pre-harvest burns in the Hazard Zone are generally done on 40-80 acre tracts of

   land at a time, and are regulated by the Florida Forest Service (“FFS”). Prior to each burn,

   Defendants must apply for and receive burn permits from the FFS. Specifically, on the day

   before a burn event, the operator must notify the FFS of the location and date of the planned

   burn. The FFS then grants or denies approval based on anticipated meteorological conditions

   and other factors. There are no source performance standards—that is, no pollution control

   standards.




                                                     - 45 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 50 of 131



            123.     Crucially, the FFS approves or denies burn permits based on wind conditions.

   During the year, wind conditions in the Hazard Zone vary greatly. The following diagram shows

   annual wind rose data from 2018 for West Palm Beach, Florida26:




       26
          Wind data taken from Boca Raton, Florida, also confirms wind directions from all compass
   directions throughout the year, but with the following dominant wind directions by month:
       January = Northwest / Southeast
       February = Northwest/ Southeast
       March = Southeast
       April = Southeast
       May = Southeast
       June = Southeast
       July = Southeast
       August = Southeast
       September = East
       October = Northeast
       November = Northwest / East
       December = Northwest / East


                                                   - 46 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 51 of 131




                                  Figure 16: annual wind rose data for West Palm Beach


            124.     Remarkably, current regulations promulgated by the State of Florida deny burn

   permits to Defendants if winds are projected to blow smoke and ash plumes toward the more

   affluent Eastern Palm Beach County and Eastern Martin County communities near the coast. By

   contrast, burn permits are subject to little scrutiny when the wind blows toward the areas of

   Western Palm Beach County, Western Martin County, Hendry County, and Glades County. See

   Exhibit A;27 see also D.E. 81-2 (Florida Forest Service “Procedures for Burning Sugarcane” and

   map of zones).




       27
          The Zones discussed in Exhibit A correspond with the four zones demarcated with purple
   lines in the Florida Forest Service map (Figure 17) below. Zone I is the easternmost block;
   Zones II and III (further broken down into northern and southern zones) are the narrow,
   rectangular bands to the west of Zone I; and Zone IV is the large area to the west of Zone III.


                                                     - 47 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 52 of 131



            125.     Consistent with this, the following Florida Forest Service map shows zones where

   sugarcane burning is allowed (demarcated with purple lines) and “smoke sensitive buffer” zones

   where it is not (demarcated with orange dots). Though there are a small number of buffer zones

   in the Hazard Zone, the majority form, in effect, a wall around east Palm Beach and Broward

   counties:




                              Figure 17: FFS map of sugarcane areas (with buffer zones)

            126.     On information and belief, the FFS’ wind-based regulations were first put into

   place in the 1990s, after residents of wealthy Wellington—a “world-famous equestrian




                                                       - 48 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 53 of 131



   destination” that sits east of Belle Glade, and was incorporated in 1995—and others to the east

   complained. When ash, smoke, or debris affect these communities today, it is a newsworthy

   event, and residents are often advised to take shelter. For example:

                When smoke from sugarcane burns recently intruded into Coral Springs, fire officials
                 encouraged residents with respiratory problems to stay indoors, warning that those
                 with chronic heart and lung diseases faced particular risk from microscopic particles
                 in smoke that can penetrate deep into the lungs.28

                When unusually cold temperatures in December 2010 caused sugarcane ash to waft
                 into Loxahatchee and Wellington, state officials advised residents to avoid outdoor
                 activities if they smelled smoke.29

             127.    Complaint logs maintained by the Florida Department of Health between 1988

   and the present offer another stunning picture of this double standard. When residents of the

   Glades complain about burning, for instance, it appears that they are simply told to contact the

   Department of Forestry to register their displeasure. A 2008 log of a complaint filed by a

   resident of Pahokee reads:

             [Complainant] is upset with the ongoing sugarcane burning. It is impacting the
             quality of his life and he believes it is a health threat and something should be done.
             I informed him of our regulatory limitations, suggested he contact DOF. Second
             complaint.

             128.    By contrast, when residents of wealthier parts of Palm Beach County—for

   instance, those residing in Loxahatchee, Wellington, West Palm Beach, and Delray Beach—

   complain to the County about smoke or ash drifting into their communities, these same logs

   reveal a robust investigative process that includes detailed sample collection (and microscopic




       28
            Fooksman, supra note 6.
       29
         Mitra Malek, December freezes intensity ash fall from sugar cane fields, SOUTH FLORIDA
   SUN SENTINEL (Jan. 30, 2011), https://www.sun-sentinel.com/news/fl-xpm-2011-01-30-fl-palm-
   cane-ash-falling-20110129-story.html.


                                                     - 49 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 54 of 131



   analysis), diligent contact with complainants and even, in some cases, direct contact between the

   Palm Beach County Health Department and the Florida Department of Forestry. For example:

                When a resident of Delray Beach called to complain about “flakey black ash” in
                 January 2009, an investigator from the Palm Beach County Public Health Unit visited
                 the site to collect ash samples, “showed the owner how to collect” these herself, then
                 submitted these samples to the Florida Department of Health for microscopic
                 particulate sample analysis—which revealed them to be sugar cane ash.

                When a resident of Palm Beach called to complain about suspected sugarcane burning
                 in 2009, investigators from the Palm Beach County Health Department—though
                 doubtful that sugarcane burning was the culprit—followed up with the complainant
                 on numerous occasions. An internal department e-mail between investigators
                 instructs: “Would you please contact the complainant for an [indoor air quality]
                 review/inspection (if necessary)? I have also asked that she maintain a log of dates,
                 times and wind directions for future events to see if we can confirm or rule out sugar
                 cane burning. She seems to be located too far east for severe smoke irritant reactions;
                 an event log can help us determine validity.”

                When a resident of Loxahatchee called to complain about “black smoke” from
                 sugarcane burning in November 2010, investigators contacted the Department of
                 Forestry directly to investigate. A “summary of findings and actions taken” states:
                 “Reviewed complaint with Harry of DOF. Harry advised that burning was allowed
                 today; requiring law enforcement to attend afternoon burns due to increased winds.
                 Harry advised he would send a truck out to this one and check conditions. I gave him
                 the complainant’s information.”

                When a resident of Loxahatchee contacted the Florida Department of Health, in
                 January and February of 2012, to express concerns about the health effects of
                 sugarcane burning on her family and community, health department employees
                 conducted an extensive investigation, and ultimately sent the complainant the
                 following letter:

                     Thank you for the January 20 letter expressing your health concerns related
                     to air pollution from sugarcane burning. In your letter, you indicated that
                     air pollution (smoke and odors) in your area was particularly bad on January
                     19. Our air program staff conducted an investigation in an effort to identify
                     the circumstances that may have led to the high levels of air pollution on
                     that date. We contacted the Division of Forestry (DOF), who as you know
                     regulates sugarcane burning, and were advised that 61 burns were
                     authorized for that day. Information obtained from the National Weather
                     Service for that day indicated that a cold front had moved through the area.
                     As indicated previously in the DOH email, the changing weather conditions
                     that occur when a front moves through the area can result in sugarcane
                     smoke being transported close to the ground and impacting urban areas.



                                                    - 50 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 55 of 131



                     The Health Department operates an air monitoring station in Royal Palm
                     Beach near the intersection of Okeechobee Blvd and Crestwood Blvd. One
                     of the pollutants monitored at this station on a continuous basis is fine
                     particulate matter which is made up of particles equal to or less than 2.5
                     micrometers in size (PM2.5). A major constituent of smoke is fine
                     particulate matter. The health based air quality standard for PM2.5 is 35.0
                     micrograms per cubic meter averaged over 24 hours. The daily
                     concentration obtained from the continuous monitor at Royal Palm Beach
                     on January 19 was 13.4 micrograms per cubic meter, which is well below
                     the standard. However, higher hourly values were observed in the late
                     afternoon and early evening that is consistent with your observations.

                     We have forwarded a copy of your complaint to the DOF. The information
                     derived from your complaint, and others like it, is very important as it is
                     used by the DOF to assess the effectiveness of their best management
                     practices established to minimize the impacts from sugarcane burning on
                     populated areas. In the event you should again experience smoke levels in
                     your area that are affecting you and your family, we encourage you to
                     contact the Health Department's air program at (561) 837-5900. Our staff
                     will attempt to verify your complaint and make an effort to collect ash
                     samples for examination if requested. It is also suggested that you contact
                     the DOF Loxahatchee Station at (561) 791-4725.

                When a resident of the Eastpointe Country Club in Palm Beach Gardens called to
                 complain about “black soot” on his patio and roof from sugar cane burning in March
                 2012, a Department of Health employee visited the complainant’s home, collected
                 samples, submitted these samples for microscopic analysis, then sent the complainant
                 a formal letter detailing (and enclosing the results of) this analysis—which included
                 the finding that sugarcane ash was present in the samples collected, “typical of what
                 we observe in dust samples throughout Palm Beach County, especially this time of
                 year during our dry season.”

                When a resident of Riviera Beach complained about “black particulate matter”
                 coating boats in the Riviera Beach Marina in 2017, investigators from the Florida
                 Department of Health conducted a site visit (including a walk-through of the Riviera
                 Beach Marina), “[i]nterviewed various boat owners with regards to the residue
                 observed on their boats,” and collected samples that were subsequently submitted for
                 microscopic observation. According to the complaint investigation record, a
                 “microscopic analysis report” indicated that three of five samples taken included
                 sugarcane ash; the complainant was subsequently advised “to contact [the] Florida
                 Forest Services [sic] for sugar cane ash complaints.”

                When a resident of Palm Beach complained about “a lot of something that looks like
                 strings of ASH floating in the air” in November 2018, a Florida Department of Health
                 investigator analyzed a sample of this material and confirmed, via microscopic
                 analysis, that it was sugarcane ash. In an e-mail, an environmental manager for the
                 health department assured the complainant that “[a]sh particles are usually much


                                                    - 51 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 56 of 131



                 larger than 10 microns and more of a nuisance than a health threat. Please note that
                 sugar cane harvest is in-progress (mainly in the western communities of Belle Glades,
                 Pahokee, & Canal Point). Ash and smoke may sometimes impact eastern Palm Beach
                 County caused by meteorological changes and wind shifts.”

            129.     Furthermore, when residents of the Hazard Zone complain to the State of Florida

   about Defendants’ burning, evidence indicates that these complaints are passed on directly to the

   sugarcane industry itself. According to a 2018 article, for instance, when Shanique Scott—the

   mayor of South Bay—called the Florida Forestry Service to complain about smoke drifting into

   town, a dispatcher took her contact information and promised to follow up, only for a sugar

   company employee to call Scott back hours later with detailed information about the complaint

   as well as Scott’s contact information.30 On another instance, when a resident of Glades County,

   Steve Laporte, wrote to the Florida Department of Health in 2016 about his concerns with pre-

   harvest burning, he received an email from an environmental consulting company sent on behalf

   of the “Florida Sugar Cane League,” an industry trade association whose members include

   Defendants U.S. Sugar, the Sugar Cane Growers Cooperative, and Florida Crystals, 31 seeking to

   “discuss his concerns.”

            130.     In other words, sugarcane burning is a novel, newsworthy health concern for

   wealthier Florida residents to the east, and something worthy of diligent investigation when

   complaints arise. For residents who live in the Hazard Zone, it is a fact of life.




        Love Thy Neighbor: Florida’s Fight to Stop Sugarcane Burning, BULLSUGAR.ORG (July 5,
       30

   2018), https://bullsugar.org/florida_fights_glades_sugarcane_burning/.
       31
         See Susan Salisbury, Sugar Cane Growers Cooperative joins industry group as farm bill
   looms, PALM BEACH POST (Apr. 10, 2018), https://www.palmbeachpost.com/news/sugar-cane-
   crowers-cooperative-joins-industry-group-farm-bill-looms/HWNy (noting that Defendants
   SCGC, Florida Crystals, and U.S. Sugar were “represented by the Florida Sugar Cane League,
   the industry trade association,” in lobbying related to the 2018 farm bill).


                                                   - 52 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 57 of 131



            2.       Each burn is a toxic stew of smoke and particulate matter.

            131.     When sugarcane is burned, an estimated 70% of the approximately 30 tons of

   foliage per acre is removed, much of which then becomes smoke and particulate matter. As this

   material goes up in flame, each burn emits billows of thick black smoke, and causes small pieces

   of black ash and particulate matter to rain down on the surrounding area.

            132.     Residents call this byproduct of burning “black snow.” It is known to travel for

   miles from the area of a burn.




                                                    - 53 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 58 of 131




                          Figure 18: Aerial view of sugarcane burn in the Hazard Zone




                           Figure 19: Aerial view of a sugarcane burn in Maui, Hawaii




                                                     - 54 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 59 of 131




             133.    Both this smoke and the black snow that accompanies it have long been known to

   be toxic. Since at least 1975, when the EPA studied the particle size distribution associated with

   air pollution emissions from sugarcane field burn events, it has been known that approximately

   90 percent are the particles emitted by burns are less than 0.5 microns in size.32 These small

   particles include, among other things, dangerous substances like polycyclic aromatic

   hydrocarbons, many of which are carcinogenic.

             134.    There are two reasons why emitted particles are harmful to people and property:

   first, the particulate matter emitted by burning—that is, the byproduct of burning organic

   material like Defendants’ “trash”—is itself harmful and can infiltrate the lungs (e.g., PM0.5,

   PM2.5, discussed infra); and second, other pollutants are “sorbed” (attached) onto this particulate

   matter, thus allowing them to migrate on to property and people.

             135.    Although the composition of emitted plumes may vary somewhat from field to

   field and from burn event to burn event, the “black snow” emitted by Defendants’ pre-harvest

   burns generally includes the following pollutants, many of which are carcinogenic, recognized as

   “hazardous substances” under the federal Comprehensive Environmental Response,

   Compensation, and Liability Act of 1980 (CERCLA) and Florida law,33 and/or otherwise

   harmful to human health:


       32
        See Ellis F. Darley & Shimshon L. Lerman, U.S. EPA, Air Pollutant Emissions from
   Burning Sugar Cane and Pineapple Residues, Publication No. EPA-450/3-75-071 (July 1975).
       33
            42 U.S.C. § 9601(14) defines “hazardous substance” to include:
             (A) any substance designated pursuant to section 311(b)(2)(A) of the Federal Water
             Pollution Control Act, (B) any element, compound, mixture, solution, or substance
             designated pursuant to section 9602 of this title, (C) any hazardous waste having
             the characteristics identified under or listed pursuant to section 3001 of the Solid
             Waste Disposal Act (but not including any waste the regulation of which under the
             Solid Waste Disposal Act has been suspended by Act of Congress), (D) any toxic


                                                    - 55 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 60 of 131



            a. Particulate matter (“PM”), including PM0.5, PM2.5, and PM10.34 Particulate matter is
               the residue from the combustion process, and is sometimes referred to as “smoke” or
               “soot” or “fly ash.” The ash is a residual substance from the destruction of waste and
               is common to any type of burning or organic material.

                 Particles with diameters of less than 10 microns have significant health effects, and
                 particles with diameters less than 2.5 microns are especially harmful, as they can
                 easily penetrate or be deposited on the alveolus zone of the lung—and can absorb and
                 bind to numerous toxic compounds, including (but not limited to) PAHs. According
                 to a recent study, “[f]ine particulate matter (PM2.5) exposure is the largest
                 environmental health risk factor in the United States,” and is responsible for 63% of
                 deaths from environmental causes and 3% of deaths from all causes.35 The
                 Independent Particulate Matter Review Panel, a group of 20 independent experts on
                 particulate matter pollution and health that previously existed to advise the EPA in its
                 review of the National Ambient Air Quality Standards (“NAAQS”), has recently
                 “unequivocally and unanimously concluded,” on the basis of more recent evidence
                 concerning the “numerous adverse health outcomes” associated with PM2.5 exposure
                 and “in the interests of environmental justice,” “that the current PM2.5 standards do
                 not adequately protect public health” and should be revised downwards.36

                 A robust literature ties particulate matter pollution, even at concentrations lower than
                 the current NAAQS levels, to a wide range of negative health effects and outcomes,
                 including increases in all-cause mortality.37 In studies, exposure to particulate


            pollutant listed under section 307(a) of the Federal Water Pollution Control Act,
            (E) any hazardous air pollutant listed under section 112 of the Clean Air Act, and
            (F) any imminently hazardous chemical substance or mixture with respect to which
            the Administrator has taken action pursuant to section 7 of the Toxic Substances
            Control Act.
   See also Fla. Stat. § 376.301(21) (defining “hazardous substances” to include those substances
   that are hazardous substances under CERCLA).
       34
          Particulate matter is denoted as “PM” with a subscript indicating the diameter of the
   particles, such as PM2.5 (particulate matter with a diameter of less than 2.5 micrometers), PM10
   (diameter of less than 10 micrometers), or PM0.5 (diameter of less than 0.5 micrometers).
       35
         Christopher W. Tessum, Inequity in consumption of goods and services adds to racial-
   ethnic disparities in air pollution exposure, 116 PROCEEDINGS OF THE NAT’L ACADEMY OF
   SCIENCES 6001 (2019).
       36
          Independent Particulate Matter Review Board, The Need for a Tighter Particulate-Matter
   Air-Quality Standard, NEW ENGLAND J. OF MED. (June 10, 2020),
   https://www.nejm.org/doi/full/10.1056/NEJMsb2011009.
       37
         See, e.g., Cong Liu et al., Ambient Particulate Air Pollution and Daily Mortality in 652
   Cities, 381 NEW ENGLAND J. OF MED. 705 (2019) (finding, inter alia, that (i) an increase of 10 μg
   per cubic meter in the 2-day moving average of PM10 concentration was associated with
   increases of 0.44% in daily all-cause mortality, 0.36% in daily cardiovascular mortality, and


                                                    - 56 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 61 of 131



                  pollution has been linked to premature death,38 emphysema,39 difficulty breathing,40
                  aggravated asthma,41 cancer42 (including lung cancer43), increased hospital
                  admissions and emergency room visits,44 adverse pregnancy and birth outcomes,45
                  and increased respiratory symptoms in children.46 A recent study of all Medicare
                  beneficiaries (60,925,443) in the United States between 2000 and 2012 estimated that
                  increases of 10 μg per cubic meter in PM2.5 and of 10 parts per billion in ozone—
                  concentrations lower than the current NAAQS of 12 μg per cubic meter for PM2.5 and
                  50 parts per billion of ozone—were associated with increases in all-cause mortality of
                  7.3% and 1.1%, respectively; when the analysis was restricted to person-years with
                  exposure to PM2.5 of less than 12 μg per cubic meter and ozone of less than 50 ppb,
                  the same increases in PM2.5 and ozone were associated with increases in the risk of
                  death of 13.6% and 1.0%, respectively. For PM2.5, the “risk of death among men,
                  blacks, and people with Medicaid eligibility was higher than that in the rest of the
                  population.”47

                  Children are at particular risk from PM pollution. In a study funded in part by the
                  EPA, researchers have found that children exposed to PM10-2.5 were more likely to



   0.47% in daily respiratory mortality; and (ii) the corresponding increases in daily mortality for
   the same change in PM2.5 concentration were 0.68%, 0.55%, and 0.74%, respectively).
       38
        Robert D. Brook et al., Particulate Matter Air Pollution and Cardiovascular Disease, 121
   CIRCULATION 2331 (2010).
       39
        Meng Wang et al., Association Between Long-term Exposure to Ambient Air Pollution and
   Change in Quantitatively Assessed Emphysema and Lung Function, 322 J. AM. MED. ASS’N 546
   (2019).
       40
         EPA, Particulate Matter (PM) Pollution, , https://www.epa.gov/pm-pollution/health-and-
   environmental-effects-particulate-matter-pm (last updated Apr. 13, 2020).
       41
            Id.
       42
        C. Arden Pope III et al., Lung Cancer, Cardiopulmonary Mortality, and Long-term
   Exposure to Fine Particulate Air Pollution, 287 J. AM. MED. ASS’N 1132 (2002).
       43
         See, e.g., International Agency for Research on Cancer, Outdoor Air Pollution, Vol. 109
   (2016) at 443 (finding “sufficient evidence in humans for the carcinogenicity of outdoor air
   pollution” and finding that such pollution “causes cancer of the lung”).
       44
         J.E. Cançado et al., The Impact of Sugar Cane-Burning Emissions on the Respiratory
   System of Children and the Elderly, 114 ENVTL. HEALTH PERSPECTIVES 725 (2006)
       45
        See Independent Particulate Matter Review Board, The Need for a Tighter Particulate-
   Matter Air-Quality Standard, supra note 36.
       46
            Id.
       47
         Qian Di et al., Air Pollution and Mortality in the Medicare Population, 376 NEW ENGLAND
   J. OF MED. 2513 (2017).


                                                     - 57 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 62 of 131



                 develop asthma and need emergency room or hospital treatment for it.48 According to
                 the EPA,

                     This finding is significant because while researchers have generally found
                     that exposure to fine particulate matter (PM2.5) is associated with the
                     development of asthma and other respiratory and cardiovascular diseases.
                     Coarse particulate matter was thought to be less harmful, in part because the
                     larger particle size prevents penetration deep into the lungs. However,
                     coarse PM can deposit into the airways, and recent research suggests that
                     short-term exposure may be associated with cardiovascular and respiratory
                     disease.49

                 Another recent study funded by the EPA found that found that short-term and long-
                 term exposures to high levels of carbon monoxide, nitrogen dioxide, and PM2.5 were
                 associated with alterations to two genes involved in immune tolerance in children,
                 and that those alterations were significantly associated with asthma.50 According to
                 the EPA,

                     While researchers do not fully understand how air pollution exposure
                     increases asthma prevalence, evidence suggests air pollutants suppress
                     genes that regulate the immune system’s ability to differentiate an allergen
                     from a dangerous foreign substance, such as a virus or bacteria. The immune
                     system then goes into action, setting up an inflammatory response whether
                     the substance is harmful or not, which leads to asthma.51

                 Consistent with this, a 2015 study found that long-term improvements in air quality—
                 and with declining levels of nitrogen dioxide and PM2.5 in particular—were associated




       48
          Corinne A. Keet et al., Long-Term Coarse Particulate Matter Exposure is Associated with
   Asthma among Children in Medicaid, 197(6) AM. J. OF RESPIRATORY AND CRITICAL CARE
   MEDICINE 737 (2018). As part of this study, researchers analyzed a dataset of nearly eight
   million children ages 5-20 enrolled in Medicaid in 34 states between 2009 and 2010. They
   found that exposure to coarse PM was associated with increased asthma diagnosis,
   hospitalization, and emergency department visits, and that children ages 11 years and younger
   were most susceptible to adverse health effects from exposure to coarse PM. Researchers
   hypothesized that this was because younger children traditionally spend more time outdoors and
   their respiratory systems are still developing. See id.
       49
        See EPA, The Links Between Air Pollution and Childhood Asthma (last updated Oct. 23,
   2018), https://www.epa.gov/sciencematters/links-between-air-pollution-and-childhood-asthma.
       50
        Mary Prunicki et al., Exposure to NO2, CO, and PM2.5 is linked to regional DNA
   methylation differences in asthma, 10:2 CLINICAL EPIGENETICS (2018).
       51
            EPA, The Links Between Air Pollution and Childhood Asthma, supra note 49.


                                                    - 58 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 63 of 131



                 with statistically and clinically significant positive effects on lung-function growth in
                 children.52

            b. Dioxins/furans. Dioxins/Furans are complex chlorinated organic compounds that are
               generated during the combustion process. According to the EPA, certain
               dioxins/furans are likely to cause cancer in humans. Furthermore, people exposed to
               dioxins and furans have experienced changes in hormone levels, and animal studies
               show that animals exposed to dioxins and furans experienced changes in their
               hormone systems, changes in the development of the fetus, decreased ability to
               reproduce and suppressed immune system.53

            c. Polycyclic aromatic hydrocarbons (“PAHs”). PAHs are semi-volatile organic
               compounds (“SVOCs”) that are generated from the combustion of organic material.
               Many PAHs are classified by the International Agency for Research on Cancer
               (“IARC”) as confirmed carcinogens or suspected carcinogens, and have half-lives of
               several years. PAHs are generally concentrated in particles of less than 1 micrometer
               in diameter, which is significant because particles of that diameter are able to
               penetrate more deeply into lung tissue, making them more hazardous; there is a close
               correlation between human lung cancer and inhaled PAHs.54 Among the PAHs
               released by Defendants’ sugarcane burning are the following:

                    i.    acenaphthene; acenaphthylene; anthracene; benzo[a]anthracene (classified by
                          IARC as a possible human carcinogen); benzo[a]pyrene (classified by IARC
                          as a confirmed human carcinogen); benzo[b]flouranthene (classified by IARC
                          as a possible human carcinogen); benzo[k]flouranthene (classified by IARC as
                          a possible human carcinogen); benzol[ghi]perylene; chrysene (classified by
                          IARC as a possible human carcinogen); fluoranthene; flourene; indeno[1,2,3-
                          cd]pyrene (classified by IARC as a possible human carcinogen); naphthalene
                          (classified by IARC as a possible human carcinogen); phenanthrene; and
                          pyrene.55



       52
         W. James Gauderman, Association of Improved Air Quality With Lung Development in
   Children, 372 NEW ENGLAND J. OF MED. 905 (2015).
       53
          EPA, Dioxins and Furans Fact Sheet,
   https://archive.epa.gov/epawaste/hazard/wastemin/web/pdf/dioxfura.pdf (last visited June 2,
   2020).
       54
         See Szu-Chich Chen et al., Health risk assessment on human exposed to environmental
   polycyclic aromatic hydrocarbons pollution sources, 336 SCIENCE OF THE TOTAL ENV’T 112
   (2006).
       55
          See generally Donata Lerda, European Commission Joint Research Centre, Polycyclic
   Aromatic Hydrocarbons (PAHs) Factsheet (2011), available at
   https://ec.europa.eu/jrc/sites/jrcsh/files/Factsheet%20PAH_0.pdf (cataloguing PAHs by IARC
   classification for carcinogenicity at pp. 8–13 and compiling risk assessments by other agencies).


                                                     - 59 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 64 of 131



            d. Volatile organic compounds (“VOCs”). VOCs are highly mobile in the
               atmosphere, and many are carcinogenic and/or highly toxic. Among the VOCs
               released by Defendants’ sugarcane burning are the following:

                    i.    benzene (classified as a known human carcinogen56); ethylbenzene (classified
                          by IARC as a possible human carcinogen57); o,m,p-xylene (mixture); styrene;
                          and toluene.

            e. Carbonyls. Many carbonyl compounds are toxic, carcinogenic, or mutagenic.
               Among the carbonyls released by Defendants’ sugarcane burning are the following:

                    i.    acetaldehyde; formaldehyde (classified by IARC as a confirmed human
                          carcinogen58); and propionaldehyde.

            f. Sulfur oxides. Short-term exposures to SO2 can harm the human respiratory system
               and make breathing difficult. People with asthma, particularly children, are
               especially sensitive to these effects.59

            g. Nitrogen oxides (“NOx”). NOx—and the pollutants formed from it—can be
               transported over long distances and can cause a wide variety of health and
               environmental impacts because of the various compounds and derivatives in the
               family of nitrogen oxides. For example, children, the elderly, people with lung
               diseases (like asthma), and those who work or exercise outside are susceptible
               adverse effects from NOx exposure, including damage to lung tissue and reduction in
               lung function. Furthermore, NOx reacts with ammonia, moisture, and other
               compounds to form toxic particles and vapor that can penetrate deeply into the lungs,
               damage lung tissue, and cause or worsen respiratory disease and/or existing heart
               disease.60

            h. Ammonia. Chronic exposure to airborne ammonia can increase the risk of
               respiratory irritation, cough, wheezing, chest tightness, and impaired lung function.61

       56
          See Agency for Toxic Substances & Disease Registry, Benzene,
   https://www.atsdr.cdc.gov/substances/toxsubstance.asp?toxid=14 (last updated March 3, 2011).
       57
          See Agency for Toxic Substances & Disease Registry, Ethylbenzene,
   https://www.atsdr.cdc.gov/substances/toxsubstance.asp?toxid=66 (last updated March 3, 2011).
       58
          See Agency for Toxic Substances & Disease Registry, Formaldehyde,
   https://www.atsdr.cdc.gov/substances/toxsubstance.asp?toxid=39 (last updated March 3, 2011).
       59
          See EPA, Sulfur Dioxide (SO2) Pollution, https://www.epa.gov/so2-pollution/sulfur-
   dioxide-basics#:~:text=Short%2Dterm%20exposures%20to%20SO,sulfur%20oxides%20(SOx).
   (last updated Apr. 2, 2019).
       60
         See EPA Office of Air Quality Planning and Standards, NOx: How nitrogen oxides affect
   the way we live and breath, EPA-456/F-98-005 (Sept. 1998).
       61
        See Nat’l Ctr. for Envtl. Assessment Ofc. of Research and Development, Toxicological
   Review of Ammonia Noncancer Inhalation: Executive Summary, EPA/635/R-16/163Fc


                                                    - 60 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 65 of 131



                 Ammonia molecules are “sticky” and, once aloft, combine easily with other
                 compounds (like NOx) to create tiny particles less than 2.5 microns in diameter that
                 can lodge in the lungs and bloodstream.

            i. Ozone. NOx and other pollutants (like VOCs or ammonia) react to create ozone.
               Even at relatively low levels, exposure to ozone can cause a number of health
               problems, including trouble breathing, shortness of breath, coughing, inflammation of
               the airways, aggravation of lung disease (like asthma and emphysema), lung damage,
               and chronic obstructive pulmonary disease (“COPD”).62 A 2009 study found that the
               estimated relative risk of death from respiratory causes associated with an increment
               in ozone concentration of 10 ppb was 1.04, or what the study terms “a significant
               increase in the risk of death.”63

                 According to the EPA, an increase in ozone concentrations has been found to be
                 associated with a decrease in lung function; a 2018 study found low levels of outdoor
                 ozone were associated with respiratory changes and other outcomes in African
                 American children with difficult-to-treat asthma, even when they used asthma
                 therapies such as inhalers to modify the adverse effects of air pollutants, and that
                 ozone exposure at levels lower than the National Ambient Air Quality Standards for
                 ozone was associated with pulmonary and other changes in African-American
                 children with persistent asthma, including (i) a decrease of lung function even at low
                 levels, and when participants were treating their asthma with medication and (ii) an
                 increase in the level of fatty substances in the blood, a finding previously only
                 documented in adults.64 The study concluded that ozone may impact at-risk
                 populations even at low concentrations, and that its impact is more widespread than
                 “just respiratory outcomes.”

            j. Carbon monoxide (“CO”). Carbon Monoxide is generated from incomplete
               combustion of waste material.

            k. Elemental carbon/organic carbon (“EC” and “OC”). EC and OC are particle-
               related pollutants that can adversely affect human health.




   (September 2016),
   https://cfpub.epa.gov/ncea/iris/iris_documents/documents/subst/0422_summary.pdf.
       62
         EPA, Health Effects of Ozone Pollution, https://www.epa.gov/ground-level-ozone-
   pollution/health-effects-ozone-pollution (last updated July 30, 2019).
       63
        Michael Jerrett et al., Long-Term Ozone Exposure and Mortality, 360 NEW ENGLAND J. OF
   MED. 1085 (2009).
       64
         See EPA, The Links Between Air Pollution and Childhood Asthma, supra note 49; see
   Michelle L. Hernandez et al., Low-level ozone has both respiratory and systemic effects in
   African American adolescents with asthma despite asthma controller therapy, 142 J. OF
   ALLERGY & CLINICAL IMMUNOLOGY 1974–1977 (2018).


                                                    - 61 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 66 of 131



            136.     Furthermore, sugarcane growers in Florida, including Defendants, utilize a

   number of pesticides, fungicides, and herbicides (hereafter “pesticides”) to manage insects,

   mites, fungal diseases and weeds in sugarcane crops.65 Because of pre-harvest burning,

   Defendants’ pesticides also migrate as part of the “black snow.”

            137.     Many of the pollutants listed above are designated as “hazardous substances”

   under CERCLA and Florida law, including (but not limited to): acenaphthene, acenaphthylene,

   anthracene, benzo[a]anthracene, benzo[b]flouranthene, benzo[k]flouranthene, benzo[a]pyrene,

   benzol[ghi]perylene, chrysene, fluoranthene, flourene, indeno[[1,2,3-cd]pyrene, naphthalene,

   phenanthrene, pyrene, ethylbenzene, o,m,p-xylene, styrene, toluene, acetaldehyde,

   formaldehyde, propionaldehyde, nitrogen oxide, and ammonia. See 40 C.F.R. § 302.4 (listing all

   hazardous substance currently recognized under CERCLA); Fla. Stat. § 376.301(13), (21).

   Furthermore, because these same pollutants are often “sorbed” onto small particles, particulate

   matter functions as an important vector for their spread.

            138.     Each Defendant was aware that emissions from its burning contained pollutants

   and toxic chemicals, was aware of the impact of burn emissions on the Hazard Zone, and

   proceeded to burn in spite of its knowledge of safe alternatives. Specifically, each Defendant

   was aware, among other things, that the smoke from its burns travels for miles and invades the

   lands and property of each Named Plaintiff, each resident of the seven affected communities, and

   members of the Class.


       65
         Specifically, two organophosphate insecticides, phorate and ethoprop, are used on
   sugarcane seed pieces in open furrow planting. A mix of lambda-cyhalothrin and
   chlorantraniliprole is commonly used on sugarcane foliage. A number of fungicides are used to
   manage orange and brown rust, including pyraclostrobin, azoxystrobin, metconazole, and
   propiconazole, as well as mixes of these chemicals. Herbicides commonly used on Florida
   sugarcane include atrazine, metribuzin, ametryn, 2, 4-D amine, asulam pendimethalin,
   mesotrione, trifloxysulfuron, dicamba, and glyphosate.


                                                   - 62 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 67 of 131



            3.       Toxic smoke and particulate matter from Defendants’ burns blankets the
                     Hazard Zone.

                     a.     Each one of the thousands of annual burn events generates a plume of
                            material that, depending on wind and weather, can travel for tens of
                            miles.

            139.     Images demonstrate vividly that, in general, each of Defendants’ burns releases

   looming, visible clouds of particulate matter that travel at least several thousand feet—and often

   several miles—from the burn source. Because the Hazard Zone is bordered by sugarcane fields




                                                   - 63 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 68 of 131



   that Defendants burn, residents and their property are uniformly fumigated by smoke from these

   fires, which are often literally next door and rain down “black snow.”




                                     Figure 20: Burns in the Hazard Zone




                                                  - 64 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 69 of 131




                          Figure 21: “Black snow” accumulation outside of a home in the Hazard Zone

             140.    Many of these burns take place in close proximity to places where particularly

   vulnerable people reside, as cane fields in the Hazard Zone run up to the property lines of homes,

   schools, stores, and businesses. In 2008, for example, more than a dozen children at Rosenwald

   Elementary School in South Bay were taken to the hospital with respiratory problems because of

   “heavy smoke from burning cane fields.”66 Nor does this appear to be an isolated incident: as

   noted above, each of the twelve Palm Beach County schools located in the Hazard Zone receives

   one additional custodian “to assist with the additional cleaning requirements associated with

   Glades muck and burning of sugar cane in the area.”67




       66
          Students hospitalized due to cane smoke, UNITED PRESS INTERNATIONAL (Feb. 7, 2008),
   https://www.upi.com/Top_News/2008/02/07/Students-hospitalized-due-to-cane-
   smoke/63381202365877/.
       67
            See Palm Beach County School District 2019-2020 Budget, supra note 10.


                                                           - 65 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 70 of 131



            141.     The figures below (as well as Figures 1 and 2, supra) illustrate the close

   proximity of each community in the Hazard Zone to many historical burn events. The

   approximate locations of these events are indicated below with red squares (blue dots indicate

   receptor locations used for modeling, discussed infra):




                          Figure 22: Aerial map of Belle Glade and immediate surrounding burn events




                                                           - 66 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 71 of 131




                          Figure 23: Aerial map of Clewiston and immediate surrounding burn events




                      Figure 24: Aerial map of Moore Haven and immediate surrounding burn events




                                                          - 67 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 72 of 131




                          Figure 25: Aerial
                                 Figure     map of
                                        3: aerial  Canal
                                                  map     PointBay
                                                      of South and and
                                                                   immediate  surrounding
                                                                       surrounding        burn events
                                                                                   burn events




                           Figure 26: Aerial map of Pahokee and immediate surrounding burn events




                                                            - 68 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 73 of 131




                          Figure 27: Aerial map of Indiantown and immediate surrounding burn events

            142.     Furthermore, most of the toxic particulate matter generated by Defendants’ burns

   has a very low “settling velocity,” or rate of fall; because many of these particles are so fine, they

   remain suspended for long periods of time. In practice, this means that particulate matter (e.g.,

   PM0.5, PM2.5, PM10) can remain suspended in the atmosphere for several hours, or even days,

   depending on meteorological conditions. It can also easily become “re-suspended” —that is, re-

   enter the air after initially settling on a surface (e.g., vegetation, houses, structures, automobiles,

   etc.)—in response to human activity or forces likes wind. Re-suspension can be a major

   secondary source of particulate matter pollution.

            143.     Thus, while a single burn event may last for only a short period of time, when

   these particles are released into the atmosphere, they are either carried by the wind or removed

   from the atmosphere by rain, and can travel extremely long distances.




                                                           - 69 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 74 of 131



            144.     For example, if the wind speed is 5 miles per hour, then particles from a single

   burn will travel approximately 5 mph and can be transported very long distances over a span of

   hours or days. Assuming that such a burn plume does not “meander” (i.e., shift in response to

   shifting wind direction), it will travel 25 miles after 5 hours, and 100 miles after 20 hours.

            145.     This is roughly consistent with Florida Forest Service’s own burn maps, which

   indicate that smoke from a single burn can travel up to 26 miles. It is also consistent with

   guidelines for sugarcane harvesting issued by the Louisiana Department of Agriculture and

   Forestry, which advise farmers/growers that, in advance of a burn, “all potential sensitive areas

   within 20 miles in all directions from your farm or field” should be identified.68




        La. Dep’t of Agric. & Forestry, Louisiana Smoke Management Guidelines for Sugarcane
       68

   Harvesting 3 (2000), available at https://www.lsuagcenter.com/NR/rdonlyres/8AAEF1B2-EFA6-
   40A0-AC59-654C15894EE9/12567/smoke_management3.pdf.


                                                    - 70 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 75 of 131



            146.     The figure below illustrates the hypothetical long-term impact of a single burn

   event over time:




      Figure 28: Illustration of long-term impact of single burn event (with locations of historical burn events in red)




            147.     In reality, the dispersion of Defendants’ burn plumes over the Hazard Zone is

   complicated by varying wind,69 weather, and other meteorological conditions at the time of the

   burn event itself. Therefore, each plume varies in shape, trajectory, lateral extent (i.e., width),

   concentration isopleths (i.e., the contour lines demarcating the varying concentrations of

   particulate matter/pollutants in a plume) and, ultimately, its impact on “receptors” (i.e., the

   people, homes, and property on which particulate matter and pollutants are deposited). This




       69
        As noted above, see supra note 26, the dominant wind direction in the Hazard Zone varies
   from month to month.


                                                           - 71 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 76 of 131



   means that the decision to burn a given field on a given set of X days will result in X number of

   different plumes:




                          Figure 29: Hypothetical plume configurations from varying field burn events

            148.     Given tens of thousands of individual burn events under varying conditions over a

   period of years, the massive plumes from Defendants’ burns impact the entirety of the Hazard

   Zone in a “popped popcorn”-like series of overlapping patterns similar to those illustrated below:




                                                            - 72 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 77 of 131




                          Figure 30: Hypothetical illustration of multiple plumes over time




                                                         - 73 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 78 of 131



            149.     For those who live in the Hazard Zone, the net result of these many plumes is that,

   over the course of just one year, a single resident of—or home, business, or school in—the

   Hazard Zone is subject to at least hundreds, and most likely thousands, of pollutant exposures

   from individual burn events both near and far. The figures below illustrate the way in which a

   single receptor in the Hazard Zone, like a home or school, might be cumulatively exposed to

   pollutants from many burn events over the course of a burn season and/or over multiple years.




    Figure 31: Illustration of hypothetical multiple exposures to a receptor during a sample 12-month period (assuming
                                    six-month burn season between October and March)




                                                         - 74 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 79 of 131




            Figure 32: Illustration of plume trajectory showing decreasing concentration with increasing distance

                      b.       Preliminary modeling based on Florida Forest Service burn records
                               demonstrates that each Defendant’s burning activity discharges
                               pollutants that cause or contribute to the injuries alleged by each
                               Named Plaintiff.70

             150.     According to the Florida Forest Service database, between 2014 and 2018,

   Defendants Okeelanta, Osceola, U.S. Sugar, SCGC, Sugarland Harvesting, Independent

   Harvesting, J & J, and Trucane burned a collective 1,502,826 acres of sugarcane across a total of

   40,248 burn events.71




       70
         On May 8, 2020, the Court dismissed Plaintiffs’ First Amended Complaint without
   prejudice, finding that they failed to sufficiently allege that “each of the Plaintiffs has been
   harmed by all of the Defendants” and thus allege standing to sue each Defendant. See D.E. 120
   at 7–8. In this section, Plaintiffs set forth detailed allegations with respect to the harm each
   Defendant has caused Named Plaintiffs and members of the putative Classes.
       71
         As discussed supra, Florida Crystals conducts burning through its subsidiaries, which
   include Defendants Okeelanta, Osceola, and Trucane.


                                                           - 75 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 80 of 131




                            Figure 33: 2014-2018 burns (by number of burns and acreage)

            151.     Using location data obtained from this same database, Plaintiffs have used

   AERMOD, an atmospheric dispersion modeling system developed jointly by the American

   Meteorological Society and the EPA,72 to model the air dispersion of the following pollutant

   categories for each Defendant’s burns: (1) particulate matter (including total PM, PM0.5, PM2.5,

   and PM10); (2) carbon monoxide and carbonyl (CO); (3) sulfur oxides (SOx); (4) nitrogen oxides

   (NOx); (5) ammonia (NH3); (6) VOCs; (7) elemental carbon (EC); (8) organic carbon (OC); and

   (9) PAHs.73




       72
          See EPA, Air Quality Dispersion Modeling - Preferred and Recommended Models,
   https://www.epa.gov/scram/air-quality-dispersion-modeling-preferred-and-recommended-
   models#aermod (last updated April 20, 2020).
       73
         As noted above, the burning of sugarcane fields may also release other substances that are
   used as part of the routine farming practice, such as fertilizers, pesticides, and herbicides.
   However, Plaintiffs do not have access to information regarding the timing of these products’
   application or the quantities in which they were applied, and intend to obtain this information
   through discovery. Thus, emissions resulting from the use of fertilizers, pesticides, and
   herbicides may be evaluated at a later date.


                                                      - 76 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 81 of 131



            152.     To conduct this analysis, Plaintiffs constructed a 130 km by 100 km grid of

   “receptors” —i.e., locations on the map representing points of impact—overlaid over the region,

   or “airshed,” surrounding Lake Okeechobee:




                                     Figure 34: Defined airshed with receptors

            153.     Plaintiffs then modeled impacts to groups of receptors in Belle Glade, Canal

   Point, Clewiston, Indiantown, Moore Haven, Pahokee, and South Bay. These receptor groups

   are marked as blue dots in Figures 22–27 above, and marked in black in the figures below:




                                                      - 77 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 82 of 131




                     Figure 35: Locations of receptor points within communities in the defined airshed




                          Figure 36: Map of defined airshed with receptors and 2014-18 burn events




                                                          - 78 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 83 of 131



            154.     The results of this modeling are attached to Plaintiffs’ complaint as Exhibit B.

   The concentrations shown in the tables are for all pollutants and ambient air concentration

   averaging times for each community for the years 2014 through 2018. The values shown are the

   maximum concentrations within the receptor group of that community (e.g., the groupings of

   dots above), expressed as the lowest highs and highest highs within each community, and are

   presented for 1-hour, 4-hour, 8-hour, 24-hour, and annual time intervals.74 Data is also broken

   out by each company.

            155.     According to these results, every receptor in each of the receptor groups above—

   which correspond to the communities in the Hazard Zone—has been affected by each of

   Defendants Okeelanta, Osceola, U.S. Sugar, SCGC, Sugarland Harvesting, Independent

   Harvesting, J & J, and Trucane’s individual burning. As these tables demonstrate, for all

   categories of particulate matter/pollutants measured, over almost all averaging times, by each

   Defendant, there is an impact to the receptors evaluated. Each of the Named Plaintiffs resides in

   or around these receptors.

            156.     Plaintiffs’ modeling demonstrates that the effect of Defendants’ conduct on all

   seven of the communities in the Hazard Zone is profound. Using 24-hr PM2.5 values as a

   benchmark, for instance, between 2014 and 2018 the emissions from Defendants’ burn events

   caused exceedances of the NAAQS PM2.5 24-hr standard75 of 35 μg/m3 at all receptors in all



       74
         Phrased otherwise, the “lowest” value in these tables is the lowest “high” value over time
   interval X at any receptor modelled in town X. For example, if receptors A, B, C, and D had 1-hr
   maximum values of 15, 24, 8, and 92 μg/m3, respectively, for contaminant X over the whole of
   2016, the “lowest” high value in Exhibit B for town X would be 8, and the “highest” high value
   would be 92. 2018 data for Trucane is not available because the company did not record any
   burn events in that year.
        This is a “primary” (rather than “secondary”) standard set pursuant to the Clean Air Act,
       75

   meaning that it is intended to “provide public health protection, including protecting the health of


                                                    - 79 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 84 of 131



   seven communities, in many cases by a factor of several hundred. According to the attached

   tables, Plaintiffs’ model demonstrates that each of the above-listed Defendants has individually

   contributed to exceedances at each of these receptors. As noted above, each of the Named

   Plaintiffs resides in or around the areas covered by these receptors.

            157.     For example, during the year 2016, Plaintiffs’ model demonstrates that there was

   a 24-hour period during which, at one receptor in Pahokee (the town in which Named Plaintiff

   Jones resides), PM2.5 concentrations averaged 9,834 μg/m3 over a 24-hour period—or

   approximately 280 times the NAAQS. Similarly, across all receptors in Pahokee that same year,

   the lowest “high” 24-hour average PM2.5 concentration was 99 μg/m3—or still roughly three

   times the NAAQS.

            158.     Similarly striking examples can be found in all seven communities: for the period

   between 2014-2018, Plaintiffs’ model demonstrates that individual receptors in Belle Glade,

   Canal Point, Clewiston, Indiantown, Moore Haven, Pahokee, and South Bay recorded “highs” of

   3,934; 9,783; 402; 208; 735; 11,978; and 7,022 μg/m3, respectively, over at least one 24-hour

   period.76

            159.     Using benzo[a]pyrene, a confirmed human carcinogen, as an alternative

   bellwether, the same model demonstrates that the emissions from Defendants’ burn events

   caused exceedances of the US EPA’s May 2020 Regional Screening Level (RSL) of 1.7 E-06

   μg/m3 for benzo[a]pyrene in all seven communities.77 Once again, the attached results


   ‘sensitive’ populations such as asthmatics, children, and the elderly.” See EPA, NAAQS Table,
   https://www.epa.gov/criteria-air-pollutants/naaqs-table (last updated December 20, 2016).
       76
         Plaintiffs R. Butts, Coffie, and Legrand are located in Belle Glade; Plaintiffs Armstrong
   and Reimbold live in Moore Haven; Plaintiffs Atkins, Brooks, and Smith live in Clewiston;
   Plaintiff Jones lives in Pahokee; Plaintiffs Mclean and Wilcher live in South Bay.
       77
         According to the EPA, RSLs are “risk-based concentrations derived from standardized
   equations combining exposure information assumptions with EPA toxicity data,” and are


                                                   - 80 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 85 of 131



   demonstrate to that each of the above-listed Defendants has individually contributed to PAH

   emissions at each of the receptors modelled, and has thus exposed each of the Named Plaintiffs

   to toxic materials.

            160.     And more broadly, Plaintiffs’ modeling demonstrates that the harm from

   Defendants’ conduct extends well beyond the Hazard Zone: during the five years modeled,

   approximately 99.8%—or 3,523 of 3,531—of receptors analyzed in the 130 km by 100 km




                   Figure 37: NAAQS exceedances for PM2.5 (24-hr) (with historical burn event overlay)



   “considered by the Agency to be protective for humans (including sensitive groups) over a
   lifetime.” See EPA, Regional Screening Levels Frequent Questions: May 2020,
   https://www.epa.gov/risk/regional-screening-levels-frequent-questions (last updated May 11,
   2020).


                                                         - 81 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 86 of 131



   airshed above experienced exceedances of the NAAQS PM2.5 24-hr standard of 35 μg/m3. These

   values are illustrated below:




         Figure 38: NAAQS exceedances for PM2.5 (24-hr) (with concentration isopleths indicating PM2.5 values)




            161.      All Named Plaintiffs have been exposed to smoke, particulate matter, and toxic

   pollutants from each Defendant’s burning. Furthermore, the modeling so far done—which

   demonstrates that the byproducts of each Defendant’s burning has effectively blanketed the

   entirety of the Hazard Zone—indicates each Defendant has individually contributed smoke,


                                                        - 82 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 87 of 131



   particulate matter, and toxic pollutants to every nook and cranny of the Hazard Zone, including

   to where each of the Named Plaintiffs resides and to each resident of the seven communities in

   the Hazard Zone. As demonstrated in Exhibit B, these contributions happen annually—i.e.,

   during each burn season.

            162.     Finally, there several reasons why even these dramatic modeling results

   understate the impact of Defendants’ emissions on the Hazard Zone:

                Only a five-year period was modelled. But Defendants’ burning has been ongoing for
                 decades, and continues through the present.

                Further, re-suspension of particulate matter was not modelled. As noted above, this
                 can be a major secondary source of particulate matter pollution.

                Pollutants like PM10, PM2.5, PM0.5 (and others) may be suspended in the atmosphere
                 for long periods due to the very low settling velocities of fine particles in the
                 atmosphere. In theory, such particulate matter can remain in the atmosphere for
                 hours or even days. Thus, while burn event emissions themselves last a short period
                 (approximately 30 to 60 minutes), the resultant air pollution remains for longer
                 periods (hours or days) and thus can travel great distances.

                Furthermore, the long-distance transport of pollutants like PM10, PM2.5, PM0.5 (and
                 others) is not accounted for by AERMOD. This transport can be tens of miles,
                 depending on many factors, even extending well beyond the defined airshed.
                 Specifically, AERMOD assumes that an individual field burn event lasts only for the
                 durations recorded by the Florida Forest Service, which is typically between 30 and
                 60 minutes of actual “burn time,” and that a burn event generates a continuous plume
                 only during that period under the meteorological conditions during that period. Thus,
                 the plume travel distance is essentially governed and limited by wind vectors. After
                 termination of the burn event, however, AERMOD assumes that the generated plume
                 has terminated. Thus, the downwind impacts are limited by plume travel distance
                 only for the burn time period.

            163.     Because AERMOD may underestimates the impact of Defendants’ burns on

   receptors in the Hazard Zone, Plaintiffs have also used INPUFF, an alternative model developed

   by the EPA, to preliminarily model select burns. The key difference between these two models

   is that INPUFF calculates downwind concentrations not only for the duration of the burn event

   but also for the duration of the plume (which may be hours or days) using actual (variable) wind



                                                   - 83 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 88 of 131



   conditions. By contrast, as explained above, AERMOD calculates downwind concentrations

   only for the duration of the burn event, not the duration of the plume, and thus may greatly

   underestimates impacts to receptors.78

            164.     The results of one such INPUFF run is shown below. The figure depicts a single

   2014 burn of an 80-acre field by Defendant SCGC that began on February 27 at 1:00 p.m. and

   was modelled for the 24-hour period following its end. According to this model run, the plume

   travelled 20 miles from the time the fire began to the end of the period modelled. The pink areas

   below represent a median value for PM2.5 of 1.8 μg/m3, the red areas represent concentrations

   above the median, and the yellow areas represent areas below the median. The red dot at the top




       78
         For example, if the wind speed is 10 mph, a generated plume from a single burn event
   would travel in a straight trajectory for a maximum of 10 miles downwind of the burn source,
   assuming that there is no plume meander: the plume dimensions are zero at the beginning of the
   burn event, and are then calculated to be 0–10 miles (maximum) at the termination of the burn
   event (t = 60 minutes). AERMOD modeling would show that any receptor located at a
   downwind distance from the burn event of greater than 10.0 miles would have zero theoretical
   impact. However, this is not consistent with the reality of Defendants’ burns: a plume does not
   simply stop after the end of this period, but instead continues to disperse and travel downwind,
   often tens of miles. In this hypothetical, because AERMOD does not account for the plume >
   10.0 miles, the impact to receptors at distances > 10.0 miles is underestimated


                                                  - 84 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 89 of 131



   of the map is the maximum 1-hour concentration (1,900 μg/m3), and the centerline of the plume

   at the bottom of the map—twenty miles south—is 4.38 μg/m3:




                           Figure 39: INPUFF modelling results of February 27, 2014 burn

            165.     This result further supports the conclusion that each Defendant has individually

   contributed smoke, particulate matter, and toxic pollutants to every nook and cranny of the

   Hazard Zone. Specifically, it indicates that the results of Plaintiffs’ preliminary AERMOD-




                                                      - 85 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 90 of 131



   based modeling, which already demonstreates Hazard Zone-wide harm by each Defendant, likely

   understate the intensity and breadth of this harm—potentially by a significant margin.

            4.       Defendants’ burning is harmful to residents’ health and damages their
                     property.

                     a.     Smoke, particulate matter, and “black snow” from Defendants’
                            burning settle outside and inside the homes and property of residents
                            of the Hazard Zone.

            166.     Defendants’ fields are adjacent to residential neighborhoods containing thousands

   of homes, as well as to parks, schools, roads, hospitals, restaurants, and shopping areas. This

   includes Named Plaintiffs’ and Hazard Zone residents’ homes, workplaces, and businesses.

            167.     Smoke, particulate matter, and “black snow” released by Defendants’ burning

   settles on the exterior of homes and buildings, as well as on playgrounds, parks, lawns, pools,

   recreational items, and vehicles. As Named Plaintiffs’ experiences demonstrate, Defendants’

   burning causes unrelenting, unsightly, costly damage to buildings—homes, businesses, schools,

   hospitals, churches—and property throughout the year, requiring regular pressure washing and

   repainting of homes, businesses, and property.

            168.     Smoke, particulate matter, and “black snow” also migrate inside homes and

   buildings, where they settle in interior living and working spaces, and clog air conditioning

   filters. On information and belief, the smoke, particulate matter, and “black snow” from

   Defendants’ burns have likely permeated portions of structures in the Hazard Zone, including

   external siding, internal drywall and wood surfaces, HVAC systems, and attics in the homes and

   businesses of Named Plaintiffs and Class members. Preliminary sampling of three homes in the

   Hazard Zone has identified sugar cane plant burn residue in attic dust and wipe samples taken

   from around these homes.




                                                   - 86 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 91 of 131



            169.     Plaintiffs and members of the Class in the Hazard Zone have been, and continue

   to be, continually exposed to the threat of inhaling and ingesting smoke, particulate matter, and

   “black snow,” including the pollutants listed above. Plaintiffs and members of the Class, as well

   as those who visited their homes, are also exposed to this same toxic mélange when they drive

   through the Hazard Zone, as their vehicles’ heating and air conditioning systems circulate

   particulates from the outside air.

            170.     Given the scale and far-reaching impact of Defendants’ burns, as detailed above,

   the whole of the Hazard Zone suffers the above consequences. This area has been exposed to the

   smoke, particulate matter, and “black snow” that emanated from Defendants’ burns in quantities

   that are visible, damaging to property, and that pose significant dangers to human health on a

   repeated and continual basis.

                     b.     Health risks of the particles and pollutants emitted by Defendants’
                            burning

            171.     The particulate matter and “black snow” emitted by Defendants’ pre-harvest

   burns generally includes a wide range of pollutants known to be carcinogenic, mutagenic, and/or

   otherwise correlated with adverse effects on human health. These include dioxins, PAHs, VOCs,

   carbon monoxide, sulfur oxides, nitrogen oxides, ozone, ammonia, elemental carbon, organic

   carbon and, most significantly, particulate matter—the last of which has been linked to

   premature death, emphysema, difficulty breathing, aggravated asthma, cancer (including lung

   cancer), increased hospital admissions and emergency room visits, and increased respiratory

   symptoms in children. See supra ¶¶ 135–38. Furthermore, particulate matter (e.g., PM2.5) poses

   particular risks to individuals because, as explained above (see supra ¶ 134), other hazardous

   and/or carcinogenic pollutants are “sorbed” (attached) onto it, thus allowing them to more easily

   migrate on to property and people.



                                                   - 87 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 92 of 131



            172.     Upon information and belief, as a result of exposure to the air pollution created by

   Defendants’ pre-harvest sugarcane burning, residents of the Hazard Zone are at higher risk,

   compared to the rest of the population, for developing various diseases, including respiratory

   conditions (like asthma) and cancer. In fact, community members are often told by area doctors

   that the best long-term solution for their recurring, burn-related health issues is to simply leave

   the Hazard Zone—which is often simply not an option.

            173.     In addition to the preliminary air modeling so far completed by Plaintiffs, existing

   studies and data indicate that the air in Palm Beach County is some of the most polluted in the

   country. According to EPA National Emissions Inventory data from 2014, Palm Beach County

   (followed by Hendry County) emitted more pollution from agricultural fires annually than any

   other county in the nation for 34 different pollutant categories.79 And annually, Florida is

   responsible for producing approximately 17% of total national CO2, CO, and PM2.5 burn




       79
          See U.S. EPA, 2014 National Emissions Inventory (NEI) Data, available at
   https://www.epa.gov/air-emissions-inventories/2014-national-emissions-inventory-nei-data.


                                                    - 88 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 93 of 131



   emissions, 12% of PM10 burn emissions, and 9.5% of CH4 burn emissions.80 The following map

   shows the areas in which PM2.5 emissions from crop burning are highest in the United States:




                                       Figure 40: PM2.5 emissions by region

            174.     A recent air quality study conducted in southeastern Florida found that during the

   winter sampling period, when pre-harvest burns are at their peak, PM10 levels were 50% or

   higher than otherwise measured, indicating that sugarcane harvesting and processing is a major

   local source for PM10.81 Similarly, concentrations of PAHs associated with PM10 were found to


       80
        Jessica L. McCarty, Remote Sensing-Based Estimates of Annual and Seasonal Emissions
   from Crop Residue Burning in the Contiguous United States, 61 J. OF THE AIR & WASTE MGMT.
   ASS’N 22–34 (2011).
       81
        Orhan Sevimoglua & Wolfgang F. Rogge, Seasonal size-segregated PM10 and PAH
   concentrations in a rural area of sugarcane agriculture versus a coastal urban area in
   Southeastern Florida, USA, 28 PARTICUOLOGY 52–59 (2016).


                                                     - 89 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 94 of 131



   be up to 15 times higher than those measured during the summer growing season, indicating that

   the Hazard Zone’s population is exposed to these often mutagenic and carcinogenic compounds

   at a substantially higher rate.82

             175.    The same study also found that total PAH levels in Belle Glade were 7.36

   nanograms per cubic meter during the burn season, but only 0.49 nanograms per cubic meter

   during the rest of the year (or roughly fifteen times less), leading the study’s authors to conclude

   that it was “highly likely that the elevated PAH levels in Belle Glade during the sugarcane

   harvest season are caused by the pre-harvest burning of sugarcane foliage.”83

             176.    Consistent with this data, a 2005 study of one area in southeastern Brazil

   concluded that sugarcane fires were the largest source of particulate matter in the area, making

   up 60% of the area’s fine particulate matter (i.e., PM2.5) and 25% of its coarse particulate matter

   (i.e., between PM2.5 and PM10).84 A separate 2016 study of a small Mexican city next to many

   sugarcane crops found that (i) concentrations of PM10 and PM2.5 increased by approximately 41%

   and 32%, respectively, during burn season, and that the concentration of carcinogenic PAHs

   increased to 50% of total PAHs present; (ii) most emitted particles from sugarcane burning were

   in the PM2.5 range (approximately 70%); and (iii) during burn season, populations living near

   sugarcane harvesting operations were exposed to PM10 and PM2.5 at rates 1.7 and 1.5 times

   higher, respectively, than during growing season.85




       82
            Id.
       83
            Id.
       84
        L.L. Lara et al., Properties of Aerosols from Sugar-Cane Burning Emissions in
   Southeastern Brazil, 39 ATMOSPHERIC ENV’T 4627 (2005).
       85
        Violeta Mugica-Alvarez et al., Black Carbon and Particulate Organic Toxics Emitted by
   Sugarcane Burning in Veracruz, Mexico, 7 INT’L J. OF ENVTL. SCI. & DEVELOPMENT 290 (2016).


                                                    - 90 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 95 of 131



            177.     Furthermore, other studies have estimated at least 2,800 tons of hazardous air

   pollutants—including large amounts of many of the above-listed pollutants known or suspected

   to be carcinogenic—are released every year from sugarcane field burns in Palm Beach County.

   For example, researchers at the University of Florida recently estimated that sugarcane burning

   may be responsible for a significant percentage of the PAHs and carbonyls emitted in Palm

   Beach County each year, including as much as 86% of the total formaldehyde emitted and up to

   69% of the county’s emissions of acenaphthylene, which has been linked to genetic mutations

   and cancer.86 They estimate the contribution of pre-harvest burning to emissions inventories for

   a range of pollutants as follows:




       86
        Danielle Hall et al., PAHs, Carbonyls, VOCs and PM2.5 Emission Factors for Pre-Harvest
   Burning of Florida Sugarcane, 55 ATMOSPHERIC ENV’T 164 (2012).


                                                    - 91 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 96 of 131




                          Figure 41: Estimated contribution of Defendants' burning to emissions inventory for
                                                          selected pollutants


            178.     Similarly, a pair of 2015 petitions filed by the organization Earthjustice asking the

   EPA to regulate smoke pollution from Defendants Okeelanta’s and U.S. Sugar’s burning

   estimates that, when HAP emissions just for Okeelanta- and U.S. Sugar-controlled fields are




                                                             - 92 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 97 of 131



   totaled, they range between 139–3140 tons/year and 187–4217 tons/year, respectively.87, 88

   Consistent with this, a study conducted in Araraquara, Brazil, a city in São Paulo state affected

   by air pollution from sugarcane burning, has found that PAHs associated with atmospheric

   particulate matter were approximately ten times higher during the burn season.89

            179.     The negative health effects of sugarcane burning are well-documented; many

   studies—a majority of which analyze data from Brazil, the world’s largest sugarcane producer—

   indicate that burning harms and/or puts at risk the health of those affected by the resulting smoke

   and particulate matter, and that eliminating the practice leads to improved health outcomes.

   Plaintiffs summarize some of this literature below:

            Brazil

                A 2019 paper by economists Marcos A. Rangel and Tom S. Vogl found a statistically
                 significant relationship between in utero exposure to smoke from sugarcane fires in
                 São Paulo state and reduced birth weight, shorter gestation, and increased risk of




       87
       See Earthjustice U.S. Sugar Comments, supra note 23, at 13–14; Earthjustice Okeelanta
   Comments, supra note 23, at 12–13.
       88
          According to the Comments submitted by Earthjustice, supra, these estimates of total HAP
   emissions were derived by using the formula ETOT = A × ∑ EFi , where ETOT represents total
   emissions, A is the activity factor, and ∑ EFi is the sum of all HAPs for which emissions factor
   data is available.
       An emissions factor is a representative value that attempts to relate the quantity of a pollutant
   released to the atmosphere with an activity associated with the release of that pollutant. The
   “activity factor” is simply the amount of cane biomass burned per year on each Defendant’s
   fields, which is calculated by multiplying the burn area of the fields (in acres) by the so-called
   “fuel loading factor,” which is a value used to estimate the average number of tons per acre
   burned during pre-harvest burns each year. These estimates vary with the estimated “low,”
   “medium,” and “high” values used for both the fuel loading factor and emissions factors (for the
   HAPs at issue), which are taken from the EPA and recent academic research (see Hall, supra
   note 86).
       89
         Joyce Cristale et al., Influence of sugarcane burning on indoor/outdoor PAH air pollution
   in Brazil, 169 ENVTL. POLLUTION 210 (2012).


                                                  - 93 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 98 of 131



                 stillbirth.90 Among other things, Rangel and Vogl conclude that “one implication of
                 [their] findings is that the dose-response relationship [between smoke exposure and
                 these negative outcomes] is steep even at low pollution levels, so concerns about
                 health effects of air pollution should not stop at the periphery of cities or industrial
                 centers.”91 They also speculate that exposure to particulate matter (1) may contribute
                 to oxidative stress, which affects the embryo in the earliest phases of growth; (2) may
                 decrease fetal-placental exchange of oxygen and nutrients; (3) may increase
                 pulmonary and placental inflammation in the mother, potentially resulting in
                 premature contractions and membrane rupture; and (4) may affect blood viscosity and
                 coagulability, thus slowing fetal growth and increasing the risk of several adverse
                 outcomes (including maternal cardiovascular events, preeclampsia, and preterm
                 delivery).92

                A 2016 study found that the “spillover effects” of sugarcane burning in São Paulo
                 state on respiratory illness (measured in additional hospitalizations for respiratory
                 illness per thousand) are almost as large (90%) in regions bordering sugarcane
                 growing (“untreated”) regions as in the sugarcane growing (“treated”) regions
                 themselves.93 Specifically, the study found that sugarcane burning increases
                 hospitalizations by 1.34 and 1.49 per thousand in untreated and treated regions,
                 respectively.94

                A 2015 paper by economists Alexandre C. Nicolella and Walter Belluzzo found that a
                 reduction in the area of São Paulo state where sugarcane is burned “reduced the
                 number of inpatient visits [due to respiratory disease],” and that “the effect of pre-
                 harvest burning is relatively large, as compared to the estimated effects of the total
                 vehicle fleet and industrial pollution[.]”95 Nicolella and Belluzzo also conclude that
                 “[t]he effect of the area of raw sugar cane harvest is more important for the
                 population younger than 15 years old and older than 60[.]”96

                A 2014 study found a positive association between total suspended particle (“TSP”)
                 concentration in Araraquara, a city in São Paulo state affected by air pollution from

       90
          Marcos A. Rangel & Tom S. Vogl, Agricultural Fires and Health at Birth, 101 THE
   REVIEW OF ECON. AND STATISTICS 616 (October 2019), available at
   http://www.tomvogl.com/rangel_vogl_fires.pdf.
       91
            Id. at 628.
       92
            Id. at 619.
       93
        André L.S. Chagas et al., A spatial difference-in-differences analysis of the impact of
   sugarcane production on respiratory diseases, 59 REGIONAL SCI. & URBAN ECON. 24 (2016).
       94
            See id. at 19.
       95
         See Alexandre C. Nicolella & Walter Belluzzo, The effect of reducing the pre-harvest
   burning of sugar cane on respiratory health in Brazil, 20 ENV’T & DEVELOPMENT ECON. 127,
   138 (2015).
       96
            Id. at 136.


                                                     - 94 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 99 of 131



                 sugarcane burning, and pneumonia-related emergency department visits—
                 specifically, a 6% increase in such visits for two days following a TSP increase.97

                A 2013 study found sugarcane burning to be linked to increased genotoxicity among
                 field workers in the Barretos region of São Paulo state.98

                A 2010 study found that, for the period between March 2003 and July 2004,
                 hypertension-related admissions to the hospital in Araraquara, São Paulo were 53%
                 higher during the sugarcane burning period than during the non-burning period.99
                 Based on this result, the authors hypothesize that “short term fluctuations in ambient
                 TSP pollution generated from sugar cane burning may increase the incidence of
                 hypertensive episodes, thereby increasing the number of hospital admissions.”100

                A 2009 study found that, in Brazilian municipalities with more than 50% of their area
                 dedicated to sugarcane, 15% and 12% of cases of respiratory morbidity in the elderly
                 and children, respectively, were attributable to fires associated with sugarcane




       97
          Marco Abdo Arbex et al., The effect of air pollution on pneumonia-related emergency
   department visits in a region of extensive sugar cane plantations: a 30-month time-series study,
   68 J. OF EPIDEMIOLOGY & COMMUNITY HEALTH 669 (2014).
       98
          Henrique César Santejo Silveira et al., Emissions Generated By Sugarcane Burning
   Promote Genotoxicity in Rural Workers: A Case Study in Barretos, Brazil, 12 ENVTL. HEALTH
   87 (2013). Specifically, the study used a method known as micronucleus assessment, which is a
   test of genotoxic events (i.e., events likely to damage genetic information and cause cell
   mutation) and manifestations of chromosomal instability that are frequently observed in diseases
   like cancer—and can thus evaluate the potential risk of disease in exposed populations.
       99
         Marcos Abdo Arbex et al., Impact of outdoor biomass air pollution on hypertension
   hospital admission, 64 J. OF EPIDEMIOLOGY & COMMUNITY HEALTH 573 (2010).
       100
             Id. at 576.


                                                    - 95 -
   010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 100 of 131



                  burning, and that in total 38% of respiratory cases in children could be attributed to
                  current or chronic exposure to fire:101




                            Figure 42: Estimated hospital respiratory admissions in São
                            Paulo (state) directly attributable to fires by municipality for
                            elderly and children (units = number of cases per 10,000
                            individuals)
                 A 2008 review of the then-existent literature by researchers in Brazil concludes that
                  studies from around the world “indicate health risks in adverse atmospheric




        101
          María Uriarte et al., Expansion of sugarcane production in São Paulo, Brazil:
    Implications for fire occurrence and respiratory health, 132 AGRIC., ECOSYSTEMS, & ENV’T 48
    (2009).


                                                           - 96 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 101 of 131



                  conditions caused by sugarcane straw burning,” with these risks “higher among
                  children, elderly people and asthmatics.”102

                 A 2007 study found that, for the period between March 2003 and July 2004, asthma
                  related admissions to the hospital in Araraquara, São Paulo were 50% higher during
                  the sugarcane burning period than during the non-burning period.103 The authors
                  found that there was a statistically significant association between these hospital
                  admissions and TSP concentrations, that this effect was acute, and that it remained for
                  almost a week following an increase in TSP concentrations: specifically, that an
                  increase of ten micrograms per cubic meter of air in the 5-day moving average of TSP
                  concentrations was associated with an increase of 11.6% in asthma hospital
                  admissions.104

                 A 2006 study of burn emissions in Piracicaba, a city in São Paulo state, found that
                  increases of PM10 and PM2.5 were associated with increases of 12.4% and 31.03%
                  increases in child and elderly hospital admissions, respectively, and that factor 1
                  emissions (i.e., emissions from biomass burning) were most associated with
                  respiratory hospital admissions.105

                 A 2000 study of found that, for the period between June 1 and August 31, 1995, in
                  Araraquara, Brazil, there was a significant association between the amount of
                  airborne smoke particles detected and the number of patients who presented to
                  medical offices or clinics in need of inhalation therapy for acute respiratory
                  distress.106

              United States

                 A 2015 study conducted in Maui found an association between sugarcane burning and
                  acute respiratory illness events (defined as hospital/emergency department visits).
                  Specifically, the authors found a clear dose-response relationship between sugarcane
                  burning and respiratory illness: on the highest quartile burn days (by acres
                  burned/day), there was “a statistically significant higher proportion of cases




        102
              Helena Ribeiro, Sugar Cane Burning in Brazil: Respiratory Health Effects, 42 REVISTA
    DE SAÚDE PÚBLICA      370 (2008).
        103
          Marcos Abdo Arbex et al., Air pollution from biomass burning and asthma hospital
    admissions in a sugar cane plantation area in Brazil, 61 J. OF EPIDEMIOLOGY AND COMMUNITY
    HEALTH 395 (2007).
        104
              Id. at 398.
        105
              Cançado et al., supra note 44.
        106
          Marcos A. Arbex, Assessment of the Effects of Sugar Cane Plantation Burning on Daily
    Counts of Inhalation Therapy, 50 J. OF THE AIR & WASTE MGMT. ASS’N 1745 (2000).


                                                     - 97 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 102 of 131



                  corresponding to [a] 2.4 fold increase in the expected number of cases and a dose-
                  response effect by quantity of acreage burned.”107

                 A 2002 study in Louisiana found an increase in the number of asthma attacks during
                  the sugarcane burning season, as well as a 50% increase in hospital admissions for
                  respiratory problems.108 According to the study’s authors, the months with the
                  highest number of hospitalizations were October and December (33.06% of all
                  hospitalizations), thus indicating an increase in asthma-related hospitalization during
                  the months where pre-harvest burning were conducted.

              India

                 A 1999 study of workers employed on sugar cane farms in India found that those
                  whose work involved the “burning of the farm after harvesting” were at increased risk
                  of developing lung cancer.109

              180.    Consistent with these studies, according to the EPA’s Environmental Justice

    screening and mapping tool, Moore Haven, Clewiston, Belle Glade, and Pahokee rank in the 70–

    100th percentile national on the EPA’s cancer risk and respiratory hazard index metrics as

    compared to the other EPA region, state, and national census block groups.




        107
            Christina Mnatzaganian, et al., Association between sugar cane burning and acute
    respiratory illness on the island of Maui, 14 ENVTL. HEALTH 81 (2015),
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4596502/. In 2016, sugarcane farming came to
    an end in Hawaii when the state’s last sugar company closed as a result of drought, increased
    competition, and legal challenges that sought to end, among other things, the practice of pre-
    harvest burning. See Julie St. Louis, Maui Says Aloha to Island’s Last Sugar Cane Producer,
    COURTHOUSE NEWS SERVICE (Dec. 16, 2016), https://www.courthousenews.com/maui-says-
    aloha-to-islands-last-sugar-cane-producer/.
        108
          Ramaraj Boopathy et al., Sugar Cane (Saccharum officinarum L) Burning and Asthma in
    Southeast Louisiana, USA, 68 BULL. ENVTL. CONTAMINATION & TOXICOLOGY 173 (2001).
        109
           Devendra K Amre et al., Case-control study of lung cancer among sugar cane farmers in
    India, 56 OCCUPATIONAL & ENVTL. MED. 548 (1999).


                                                     - 98 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 103 of 131




                           Figure 43: NATA cancer risk in the Glades region (by national percentile)




                   Figure 44: NATA respiratory hazard index in the Glades region (by national percentile)




                                                            - 99 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 104 of 131



              181.    And consistent both with Rangel and Vogl’s findings, supra note 90, and other

    existing research regarding the health effects of PM2.5, supra ¶ 135(a) & note 45, data collected

    between 2010 and 2012 indicates that children born in Belle Glade fared worse than children in

    Palm Beach County on all birth indicators. Specifically, in 2010, 13% of infants were low birth

    weight (compared with 9% in Palm Beach County), 19% of infants were born pre-term

    (compared with 14% in Palm Beach County), 34% of births were high risk (compared with 15%

    in Palm Beach County), and 14.4 infants died for every 1,000 live births (compared with 5.5 in

    Palm Beach County).110




                     Figure 45: Belle Glade infant health metrics (comparison with Palm Beach County)




        110
            Neighborhood Profile: Belle Glade, Bridges at Belle Glade, available at
    https://www.bridgesofpbc.org/wp-content/uploads/2016/06/NeighborhoodProfile_Belle-Glade-
    06.pdf (last visited June 4, 2020).


                                                         - 100 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 105 of 131



                             (1)    Defendants’ burning puts residents of the Hazard Zone at
                                    significantly increased risk of developing lung cancer.

              182.    As noted above, among the most robust findings in recent public health research

    is the correlation between air pollution—and PM2.5 in particular—and a wide range of negative

    health outcomes. As noted above, see supra note 36, the Independent Particulate Matter Review

    Panel, a group of 20 independent experts on particulate matter pollution and health that

    previously existed to advise the EPA in its review of the National Ambient Air Quality Standards

    (“NAAQS”), has recently “unequivocally and unanimously concluded,” on the basis of more

    recent evidence concerning the “numerous adverse health outcomes” associated with PM2.5

    exposure and “in the interests of environmental justice,” “that the current PM2.5 standards do not

    adequately protect public health” and that the 24 hour standard should be revised downwards to

    between 30 and 25 μg/m3. According to both the IARC and the World Health Organization

    (“WHO”), particulates are a Group 1 carcinogen, meaning that there is sufficient evidence of

    particulates’ carcinogenicity in humans.

              183.    Among these negative outcomes is lung cancer. Specifically, in 2013, the WHO’s

    specialized cancer agency, the IARC, concluded from a review of then-existing studies and data

    that (1) “[t]here is sufficient evidence in humans for the carcinogenicity of outdoor air

    pollution,” and that “air pollution causes cancer of the lung”; and (2) that “[t]here is sufficient

    evidence in humans for the carcinogenicity of particulate matter in outdoor air pollution,” and

    that “[p]articulate matter in outdoor air pollution causes cancer of the lung.”111 According to the




        111
              See IARC, Outdoor Air Pollution, supra note 43, at 443.


                                                   - 101 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 106 of 131



    World Health Organization, the IARC’s classification “provides indisputable evidence that air

    pollution is carcinogenic.”112

              184.    The IARC concludes in its “overall evaluation:”

              Outdoor air pollution is carcinogenic to humans (Group 1)

              Particulate matter in outdoor air pollution is carcinogenic to humans (Group 1)

              The sufficient evidence in humans and experimental animals was also strongly
              supported by the multiplicity of documented genetic and related effects in humans
              and experimental systems. This strong mechanistic evidence indicated that outdoor
              air pollution worldwide is mutagenic and is carcinogenic to humans via
              genotoxicity. Human exposures to outdoor air pollution or particulate matter in
              polluted outdoor air are associated with increases in genetic damage that have been
              shown to be predictive of cancer in humans. Moreover, exposure to outdoor air
              pollution can promote cancer progression via oxidative stress, responses to
              oxidative stress, and sustained inflammation.113

              185.    Consistent with this, other studies have found a dose-response relationship

    between higher levels of PM2.5 and lung cancer incidence:

                 Using risk factor data for approximately 500,000 adults, together with air pollution
                  data for metropolitan areas throughout the United States, a 2002 study in the New
                  England Journal of Medicine found that each 10-μg/m3 long-term elevation in PM2.5
                  was associated with an 8% increase in lung cancer mortality.114

                 A 2013 study involving 312,944 people across nine countries in Europe found that,
                  for each 5 μg/m3 increase in PM2.5, participants’ risk of developing lung cancer rose
                  by 18%.115




        112
           World Health Organization, Outdoor air pollution a leading environmental cause of
    cancer deaths (Dec. 17, 2013), https://www.euro.who.int/en/health-topics/environment-and-
    health/urban-health/news/news/2013/10/outdoor-air-pollution-a-leading-environmental-cause-of-
    cancer-deaths.
        113
              See IARC, Outdoor Air Pollution, supra note 43, at 443–44.
        114
              Pope, supra note 41.
        115
          Ole Raaschou-Nielsen et al., Air pollution and lung cancer incidence in 17 European
    cohorts: prospective analyses from the European Study of Cohorts for Air Pollution Effects
    (ESCAPE), 14 THE LANCET ONCOLOGY 813 (2013).


                                                    - 102 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 107 of 131



                  A 2014 meta-analysis of 18 studies found that, for each 10 μg/m3 increase in PM2.5,
                   participants’ risk of developing lung cancer rose by 9%.116

                  A 2017 meta-analysis of 17 studies found that, for each 10 μg/m3 increase in PM2.5,
                   participants’ risk of developing lung cancer rose by 8%.117

               186.   Furthermore, according to the World Health Organization, studies of large

    populations have been “unable to identify a threshold concentration below which ambient PM

    has no effect on health: a no effect level.”118

               187.   As discussed above, Plaintiffs’ preliminary modeling demonstrates that all

    residents of the Hazard Zone have been exposed to PM2.5 well in excess of the NAAQS, as well

    as to a toxic soup of other known or suspected carcinogens. As a result, they are at significantly

    increased risk of developing lung cancer.

    E.         Defendants refuse to embrace a healthy and cost-effective alternative to sugarcane
               burning that has been demonstrated to work in Florida

               188.   As explained above, Defendants are the beneficiaries of a corporate welfare

    system that has for decades effectively guaranteed them at least tens, and likely hundreds, of

    millions of dollars of additional profit each year at the expense of U.S. consumers, see supra

    ¶¶ 113–16.

               189.   But meanwhile, many sugar producers elsewhere in the world—who, unlike

    Defendants, are subject to the crucible of market competition—have largely abandoned pre-




         116
          Ghassan B. Hamra et al., Outdoor Particulate Matter Exposure and Lung Cancer: A
    Systematic Review and Meta-Analysis, 122 ENVTL. HEALTH PERSPECTIVES 906 (2014).
         117
          FeiFei Huang et al., Relationship between exposure to PM2.5 and lung cancer incidence
    and mortality: A meta-analysis, 8 ONCOTARGET 43322 (2017).
         118
          World Health Organization, Particulate matter air pollution: how it harms health, Fact
    Sheet EURO/04/05 at 3 (Apr 14, 2005).


                                                      - 103 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 108 of 131



    harvest burning, and instead use a method known as green harvesting.119 This method involves

    leaving the “trash” as a blanket in cane fields, and has been shown to increase soil health, reduce

    dependence on herbicides, improve fertility and, ultimately, increase net profits and crop yields

    over time.120 Indeed, it is pressure to lower costs in farming, harvesting, and milling that has

    driven farmers in other parts of the world to adopt this more modern sugarcane growing method.

              190.    As far back as 1991, agronomist Andrew Wood, Ph.D., one of the world’s

    foremost experts on sugarcane harvesting, detailed trials conducted in Australia in the 1980s that

    proved to sugarcane farmers that leaving the biomass “trash” leaves as a mulch on the field floor,

    instead of burning them, improved cane yields, increased sugar content, and resulted in a

    progressive increase in soil organic matter over time.121 According to Dr. Wood, green

    harvesting ultimately results in a larger net profit for sugarcane growers, and carries with it a

    wide range of additional benefits, including:

                 reduced weed germination and growth;
                 lower herbicide costs;
                 reduced cultivation (“discing”);

        119
            Nor is this the first time that Florida’s sugar industry has fought tooth and nail to resist
    changes long adopted by sugarcane producers in other regions and countries. In the 1990s, for
    instance, Florida’s sugarcane growers finally shifted to mechanical harvesting after years of
    litigation related to their reliance on imported manual labor from the Caribbean. See Marie
    Brenner, In the Kingdom of Big Sugar, VANITY FAIR (Feb. 2001),
    https://www.vanityfair.com/news/2001/02/floridas-fanjuls-200102; see also John Mulliken,
    Relying on Machines, Not Men, Unlike in Florida, Louisiana Sugar Growers Since the 1940s
    Have Relied on Mechanical Harvesters, Not Imported Manpower, to Cut their Cane, SUN
    SENTINEL (Dec. 2, 1986), https://www.sun-sentinel.com/news/fl-xpm-1986-12-02-8603140414-
    story.html.
        120
            See Andrew Wood, Time for a Transition from Pre-Harvest Burning of Sugarcane to
    Green Cane Harvesting in the Everglades Agricultural Area (2015), available at
    https://drive.google.com/file/d/0B50HBF5vaoScTDdPdTNpeG1TWE0/view (last visited May
    31, 2020).
        121
          See Andrew Wood, Management of crop residues following green harvesting of
    sugarcane in north Queensland, 20 SOIL AND TILLAGE RESEARCH 69 (1991).


                                                     - 104 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 109 of 131



                 reduced need for implements and tractors;
                 reduced fuel use for cultivation;
                 lower labor costs (due to substantially reduced time necessary to work in fields);
                 reduced soil moisture losses;
                 less frequent irrigation;
                 reduced costs of water and pumping;
                 reduced soil loss by erosion;
                 increased soil fertility;
                 reduced oxidation of muck soil;
                 increased return of organic matter to the soil;
                 recycling of nutrients;
                 increased soil nutrient storage capacity;
                 improved soil biological activity;
                 increased earthworm populations;
                 improved soil structure;
                 reduced range of soil temperature (lower maximums and higher minimums);
                 reduced air pollution;
                 increased sequestration of carbon;
                 reduced carbon dioxide emissions;
                 fewer mill stoppages for wet weather;
                 fresher cane with a higher sugar content;
                 reduced rate of cane deterioration;
                 reduced processing difficulties with stale cane; and
                 increased fuel for electricity generation.122

              191.    In the past several decades, green harvesting has increasingly become the global

    standard. This method has effectively displaced pre-harvest burning in several major sugar

    producing countries, and continues to take hold worldwide. For example:

                 In Brazil, the largest sugarcane producer in the world, pre-harvest burning has been
                  largely abolished and replaced with green harvesting. In 2007, Brazilian sugarcane

        122
              See Wood, Time for a Transition from Pre-Harvest Burning, supra note 120, at 6.


                                                       - 105 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 110 of 131



                  mills in São Paulo, Brazil’s main sugarcane-producing state, agreed to stop the
                  practice of burning sugarcane fields by 2017.123 By state law, pre-harvest burning
                  will become illegal in most parts of São Paulo in 2021. A recent study concludes that
                  this shift has been a “win-win strategy because of its benefits involving agronomic
                  and environmental aspects[.]”124
                 Australia recognized the problems associated with sugarcane burning in 1982, and
                  eliminated over 60% of its pre-harvest burning by 1995. Today, over 85% of
                  Australia’s sugarcane crop is harvested green.125
                 In April 2019, Thailand’s Ministry of Industry announced a plan to end sugarcane
                  burning over the next three years due to concerns with the smog and pollution
                  generated by burning in many areas.126 Thailand is the fourth largest sugarcane
                  producer in the world.
                 Sugar cane burning is also being phased out in Argentina and South Africa. And
                  nearly fifteen years ago, in 2006, it was reported that approximately 65% of the
                  sugarcane crop in Louisiana—the country’s second-largest sugarcane producer—was
                  harvested green.127

              192.    Defendants have publicly protested that green harvesting would not work in

    Florida’s unique soil, and have so far resisted widespread change—in fact, when Dr. Wood was

    invited, in 2001, to give a seminar on green harvesting in Belle Glade, the seminar was cancelled

    because of pressure exerted by Defendants on the event organizer.128




        123
            Brazil sugarcane mills agree to end burning by ’17, REUTERS (Oct. 22, 2007),
    https://www.reuters.com/article/environment-brazil-cane-harvest-dc/brazil-sugarcane-mills-
    agree-to-end-burning-by-17-idUSN2245768620071022.
        124
            Ricardo de Oliveira Bordonal et al., Sustainability of sugarcane production in Brazil. A
    review, AGRONOMY FOR SUSTAINABLE DEVELOPMENT (2018), available at
    https://link.springer.com/article/10.1007/s13593-018-0490-x.
        125
           Queensland Farmers’ Federation, Sugar cane facts, https://www.qff.org.au/farming-in-
    qld/cane/ (last visited May 31, 2020).
        126
           Industry Ministry plans end to sugarcane burning in three years, THAI PBS WORLD (Apr.
    8, 2019), https://www.thaipbsworld.com/industry-ministry-plans-end-to-sugarcane-burning-in-
    three-years/.
        127
            See Susan Salisbury, Study may clear sugar harvest haze, PALM BEACH POST (Sept. 14,
    2006), available at
    http://www.sweetbeet.com/growernet/news_events/Articles/2006/091406_c.htm.
        128
              Wood, Time for a Transition from Pre-Harvest Burning, supra note 120, at 2.


                                                   - 106 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 111 of 131



              193.        But experiments led by researchers at the University of Florida’s Institute of Food

    and Agricultural Sciences have found that, were green harvesting adopted in Florida, farmers

    would produce roughly as many tons of sugar as in cane fields that have been burned.129

    Specifically, following a recent three-year trial conducted in Belle Glade, these researchers

    concluded that “no significant effect of harvest system [i.e., pre-harvest burning vs. green

    harvesting] was observed in final yields in Florida,” and that “the effect of green cane harvest on

    sugarcane yields in Florida and Costa Rica was neutral compared to burnt cane harvest.”130 Dr.

    Wood has also studied Florida’s sugarcane industry and concluded that green harvesting would

    result in higher profits for the industry, despite Florida’s purportedly unique soil.131

              194.        Nor would Defendants need to make equipment changes in order to switch to

    green harvesting. According to Dr. Wood, the same mechanical harvesters Defendants now use

    to harvest their crop following a burn can be used during a green harvest by slowing harvester

    speed and reducing the speed of extractor fans.132

              195.        Indeed, the adoption of green harvesting could offer Florida’s sugarcane industry

    a crucial lifeline, as the future of sugarcane growing throughout Glades is currently threatened by

    deteriorating soil conditions resulting in part from decades of burning. According to Dr. Wood,

                          Agriculture as currently practised in the Everglades Agricultural
                          Area has a limited future due to the continued oxidation of the peaty
                          soils and their destruction by burning. Extensive land subsidence
                          has already occurred on the muck soils and this is likely to continue
                          rapidly whilst crops like sugarcane are burnt and little organic matter
                          is returned to the soil. A system of sugarcane production where the
                          soil is always covered with a thick trash blanket would be much
                          more sustainable, and easy to achieve because the harvesters already

        129
              See Sandhu et al., supra note 13, at 259.
        130
              Id. at 259.
        131
              Wood, Time for a Transition from Pre-Harvest Burning, supra note 120, at 7.
        132
              Id. at 4.


                                                         - 107 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 112 of 131



                          in use can be used in green cane harvesting without any
                          modifications. This system would be equally applicable to sugar
                          production on the very sandy soils outside the muck area. A trash
                          blanket would greatly reduce irrigation needs and would return
                          much needed organic matter to the soil.133

              196.        Furthermore, Defendants’ insistence that green harvesting is infeasible in Florida

    is belied by their conduct. In a 2006 interview, for instance, Barbara Miedema, a then-

    spokeswoman for Defendant SCGC, stated that the company had been green harvesting a portion

    of its fields for years, particularly on days when a burn permit could not be obtained but the

    company wished to keep to its harvesting schedule.134 And according to recent reporting in

    Bloomberg, Defendant U.S. Sugar today green harvests its sugarcane fields adjacent to a

    Walmart in Clewiston to avoid bothering customers.135

              197.        For the reasons set forth in detail in this complaint, there is no reason that the

    same basic courtesy should not be extended to all residents of the Hazard Zone.

                                     V.      CLASS ACTION ALLEGATIONS

              198.        Plaintiffs incorporate the foregoing paragraphs as though the same were set forth

    at length herein.

              199.        Named Plaintiffs Armstrong, Atkins, Brooks, R. Butts, Coffie, Jones, Mclean,

    Reimbold, Smith, and Wilcher (“Property Owner Plaintiffs”) bring this action, Counts I–III, as a

    class action pursuant to Rules 23(a), (b)(1), (b)(2), (b)(3) and/or 23(c)(4) of the Federal Rules of

    Civil Procedure, on behalf of themselves and those similarly situated, against all Defendants.




        133
              Id. at 7.
        134
              Salisbury, Study may clear sugar harvest haze, supra note 127.
        135
           See Paul Tullis, The Burning Problem of America’s Sugar Cane Growers, BLOOMBERG
    (Mar. 28, 2020), https://www.bloomberg.com/news/features/2020-03-28/america-s-sugar-cane-
    growers-have-a-burning-problem.


                                                          - 108 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 113 of 131



    Property Owner Plaintiffs seek certification of a class (the “Property Owner Class”) defined as

    follows:

             All persons and legal entities (past or present) who own or have owned real property
             located within the Hazard Zone during the applicable statute of limitations period,
             including the period following the filing date of this action.

             200.     Named Plaintiffs Armstrong, Atkins, Brooks, Jones, Legrand, and Wilcher

    (“Medical Monitoring Plaintiffs”) bring this action, Count IV, pursuant to Rules 23(a), (b)(1),

    (b)(2), (b)(3) and/or 23(c)(4) of the Federal Rules of Civil Procedure, on behalf of themselves

    and all others similarly situated, against all Defendants. Medical Monitoring Plaintiffs seek

    certification of a class (the “Medical Monitoring Class”) defined as follows:

             All persons (past or present) over the age of 40, or who will attain the age of 40,
             who have resided in the Hazard Zone for at least one pre-harvest sugarcane burn
             season during the applicable statute of limitations period, including the period
             following the filing date of this action.

             201.     All Named Plaintiffs (“Battery Plaintiffs”) bring this action, Count V, pursuant to

    Rules 23(a), (b)(1), (b)(2), (b)(3) and/or 23(c)(4) of the Federal Rules of Civil Procedure, on

    behalf of themselves and all others similarly situated, against all Defendants. Battery Plaintiffs

    seek certification of a class (the “Battery Class”) defined as follows:

             All persons (past or present) who have resided or currently reside in the Hazard
             Zone during the applicable statute of limitations period, including the period
             following the filing date of this action.

             202.     Excluded from these Classes are the following: (1) the Defendants, and any

    parent, subsidiary or affiliate organizations, and the officers, directors, agents, servants, or

    employees of same, and the spouse and minor children of any such person; (2) all persons and

    entities who timely opt out of this proceeding; (3) all persons who have given valid releases

    releasing Defendants from the claims asserted in this Complaint; (4) governmental entities; (5)

    all persons who, prior to the filing of this Complaint, have filed a non-class action claim against



                                                    - 109 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 114 of 131



    any Defendant for the claims asserted in this Amended Complaint; and (6) the judge to whom

    this case is assigned, his employees and clerks, and immediate family members.

             203.     The Classes are so numerous such that joinder of claims is impracticable. The

    population of the Hazard Zone is approximately 47,000 people, a substantial majority of whom

    have been affected by Defendants’ wrongful conduct.

             204.     There are numerous questions of law and fact common to the Classes that

    predominate over any questions affecting only individual members of the Classes. Among these

    common questions of law and fact are the following:

             a.       The scope of Defendants’ sugarcane burning activities;

             b.       Whether Defendants’ sugarcane burning activities were negligent and/or reckless;

             c.       Whether Defendants’ sugarcane burning activities violates the laws as set forth in
                      the causes of action;

             d.       What pollutants are produced by Defendants’ sugarcane burning activities;

             e.       Whether those pollutants are hazardous to human health;

             f.       Whether, and to what extent, Defendants’ sugarcane burning activities have
                      deposited byproducts of that burning onto Class members’ properties;

             g.       The impact of Defendants’ sugarcane burning activities on properties in the
                      Hazard Zone, including whether and to what extent pollutants from Defendants’
                      burns have migrated onto Class members’ properties;

             h.       Whether Defendants’ sugarcane burning activities have damaged Class members;

             i.       Whether Defendants are strictly liable for Class members’ exposure to
                      Defendants’ the byproducts of Defendants’ sugarcane burning, and any
                      detrimental effect Defendants’ burning had on Class members’ properties;

             j.       Whether, and to what extent, Defendants’ sugarcane burning activities are a
                      hazard to the health of the population of the Hazard Zone;

             k.       Whether and to what extent Class members have been exposed to particulate
                      matter, hazardous pollutants and/or pesticides generated by Defendants’
                      sugarcane burning;



                                                    - 110 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 115 of 131




             l.       Whether Defendants were negligent in the application of pesticides;

             m.       Whether Defendants’ sugarcane burning activities have exposed Class members
                      to greater than normal background levels of hazardous substances;

             n.       Whether, as a result of such exposure, Class members are at significantly
                      increased risks, as compared to the general population, of contracting serious
                      latent diseases, including lung cancer;

             o.       Whether medical monitoring procedures exist for the early detection of lung
                      cancer, and whether such procedures are warranted for the Class members;

             p.       Whether Defendants’ acts and omissions have entitled the Class members to the
                      relief requested in this Complaint;

             q.       Whether Defendants’ conduct constituted a battery against Class members; and

             r.       Whether Defendants’ conduct constituted a takings for which Class members are
                      entitled to just compensation.

             205.     The claims of the Named Plaintiffs are typical of the claims of each member of

    the three Classes in that:

             a.       The Named Plaintiffs’ claims arise from the same course of conduct of
                      Defendants giving rise to the claims of other Class members;

             b.       The claims of the Named Plaintiffs and each member of the Classes are based
                      upon the same legal theories;

             c.       The Named Plaintiffs and each member of the Classes have an interest in
                      prevailing on the same legal claims;

             d.       The types of damages incurred by the Named Plaintiffs are similar to those
                      incurred by the other Class members;

             e.       The defenses asserted by Defendants will be similar, if not identical, as to all
                      Named Plaintiffs and Class members.

             206.     Named Plaintiffs are adequate representatives of the Classes because their

    interests do not conflict with the interests of the members of the Classes they seek to represent;

    they have retained counsel competent and experienced in complex class action litigation; and




                                                     - 111 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 116 of 131



    they intend to prosecute this action vigorously. The interests of the Classes will be fairly and

    adequately protected by Named Plaintiffs and their counsel.

             207.     The undersigned are competent counsel experienced in class action litigation,

    mass torts, and complex litigation involving such widespread harm. Counsel will fairly and

    adequately protect the interests of the Classes

             208.     The various claims asserted in this action are certifiable under the provisions of

    Federal Rules of Civil Procedure 23(b)(1) because prosecuting separate actions by or against

    individual Class members would create a risk of inconsistent or varying adjudications with

    respect to individual Class members that would establish incompatible standards of conduct for

    the party opposing the Classes; or adjudications with respect to individual Class members that, as

    a practical matter, would be dispositive of the interests of the other Class members who are not

    parties to the individual adjudications, or would substantially impair or impede their ability to

    protect their interests.

             209.     The claims for injunctive relief in this case are certifiable under Fed. R. Civ. P.

    23(b)(2). Defendants have acted or refused to act on grounds that apply generally to the Classes,

    so that final injunctive relief and/or declaratory relief is appropriate respecting the Classes as a

    whole.

             210.     Plaintiffs’ legal claims are properly certified pursuant to Rule 23(b)(3) in that: (1)

    a class action is superior in this case to other methods of dispute resolution; (2) the Class

    members have an interest in class adjudication rather than individual adjudication because of

    their overlapping rights; (3) it is desirable to concentrate the resolution of these claims in this

    single forum because it would be difficult and highly unlikely that the affected Class members

    would protect their rights on their own without this class action case; (4) the disparity between




                                                      - 112 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 117 of 131



    the resources of Defendants and Class members would make prosecution of individual actions a

    financial hardship on Class members; (5) the prosecution of separate actions by individual Class

    members, or the individual joinder of all Class members is impractical and would create a

    significant and unnecessary burden on the Court’s resources; and (6) management of the class

    will be efficient and far superior to the management of individual lawsuits. Moreover, currently,

    undersigned counsel are unaware of any other pending litigation regarding this controversy with

    respect to the tort claims and medical monitoring claims.

             211.     The issues particularly common to the Class members’ claims, some of which are

    identified above, are alternatively certifiable pursuant to Fed. R. Civ. P. 23(c)(4), as resolution of

    these issues would materially advance the litigation, and class resolution of these issues is

    superior to repeated litigation of these issues in separate trials.

                                       VI.     CAUSES OF ACTION

                                COUNT I – NEGLIGENCE
                    (PROPERTY OWNER CLASS; AGAINST ALL DEFENDANTS)

             212.     Property Owner Plaintiffs, individually and on behalf of the Property Owner

    Class, incorporate the foregoing paragraphs as though set forth at length here.

             213.     Defendants owed a duty to Property Owner Plaintiffs and the Property Owner

    Class members to exercise reasonable care in their sugarcane harvesting processes to avoid

    exposing Named Plaintiffs and Class members and their properties to the toxic and damaging

    “black snow” of pollutants, particulate matter, and pesticides that results from pre-harvest

    burning.

             214.     Defendants breached their duty by failing to avoid the release and spread of the

    toxic and damaging “black snow” of pollutants and pesticides from Defendants’ properties; by

    failing to adequately train and supervise their employees and agents with regard to proper



                                                    - 113 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 118 of 131



    procedures to prevent the release and spread of the toxic and damaging “black snow” of

    pollutants and pesticides from Defendants’ properties; by failing to adequately warn of the nature

    of the toxic and damaging “black snow” of pollutants and pesticides; and by otherwise failing to

    exercise reasonable care in the operation of their sugarcane cultivation businesses to prevent to

    prevent the release and spread of the toxic and damaging “black snow” of pollutants and

    pesticides from Defendants’ properties onto the properties of Property Owner Plaintiffs and

    Property Owner Class members.

             215.     Defendants exercised exclusive control over their operations and the handling,

    storage, and disposal of contaminants and other hazardous materials produced by their burning

    processes. In the normal course of events, contaminants would not escape from Defendants’

    property if Defendants had used reasonable care.

             216.     Defendants knew or should have known that their conduct could, would, and does

    cause Property Owner Plaintiffs and Property Owner Class members to suffer harm and

    damages.

             217.     As a direct and proximate cause of Defendants’ acts and/or omissions, Property

    Owner Plaintiffs and Property Owner Class members have been harmed and have incurred

    damages, economic harms, and losses associated with their properties being subjected to

    emissions from Defendants’ burning.

               COUNT II – STRICT LIABILITY PURSUANT TO FLA. STA. § 376.313
                 (PROPERTY OWNER CLASS; AGAINST ALL DEFENDANTS)

             218.     Property Owner Plaintiffs, individually and on behalf of the Property Owner

    Class, incorporate the foregoing paragraphs as though set forth at length here.

             219.     Pursuant to Fla. Stat. § 376.313, Defendants are strictly liable for the damages

    caused by their sugarcane burning activities as described herein.



                                                     - 114 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 119 of 131



              220.    Furthermore, to the extent that any Defendant managed, directed, or conducted

    any of its subsidiaries’, agents’, and/or entities’ operations specifically related to sugarcane

    burning—including their decisions regarding what, where, when, and/or whether to burn—it is

    liable for the acts of those subsidiaries pursuant to Fla. Stat. § 376.308 and § 376.301(27).

    United States v. Bestfoods, 524 U.S. 51, 67 (1998); State Dep’t of Envtl. Prot. v. Allied Scrap

    Processors, Inc., 724 So. 2d 151, 152 (Fla. 1st DCA 1998) (holding that “the language of the

    operative liability provisions in the [Water Quality Assurance Act of 1983136] closely mirrors

    comparable provisions in [CERCLA],” and that “state courts should give the Florida legislation

    the same construction as the federal courts give the federal legislation”).

              221.    The pollutants, pesticides, fungicides and contaminants that are contained in the

    particulate matter and “black snow” are a prohibited discharge under § 376.313. These

    discharges contain numerous “pollutants” and “hazardous substances” as defined by Florida law,

    including (but not limited to): acenaphthene, acenaphthylene, anthracene, benzo[a]anthracene,

    benzo[b]flouranthene, benzo[k]flouranthene, benzo[a]pyrene, benzol[ghi]perylene, chrysene,

    fluoranthene, flourene, indeno[[1,2,3-cd]pyrene, naphthalene, phenanthrene, pyrene,

    ethylbenzene, o,m,p-xylene, styrene, toluene, acetaldehyde; formaldehyde, propionaldehyde,

    nitrogen oxide, and ammonia. See Fla. Stat. §§ 376.301(13), (21), (37); 40 C.F.R. § 302.4

    (listing all hazardous substance currently recognized under CERCLA).137




        136
           The Water Quality Assurance Act was passed in 1983 and is currently codified at
    sections 376.30–376.317 of the Florida Statutes.
        137
            As noted above, see supra note 33, and as recognized by this Court in its May 8, 2020
    order, the WQAA defines “hazardous substances” to includes those substances that are defined
    as hazardous substances under the federal Comprehensive Environmental Response,
    Compensation, and Liability Act of 1980.


                                                    - 115 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 120 of 131



             222.     Defendants’ pre-harvest burning has occurred and continues to occur during each

    burning season, causing the prohibited discharge of pollutants, particulate matter, and “black

    snow” to migrate onto Property Owner Plaintiffs’ and Property Owner Class members’

    properties.

             223.     The prohibited discharge of these pollutants, particulate matter, and “black snow”

    has harmed and damaged Property Owner Plaintiffs’ and Property Owner Class members’

    properties.

             224.     Pursuant to § 376.313 and referenced sections, Property Owner Plaintiffs and

    Property Owner Class members are entitled to compensation for the harm to their properties,

    clean-up and remediation, and the costs of litigation (including reasonable attorneys’ fees and

    expert fees), as it is a matter of public interest.

             225.     Property Owner Plaintiffs’ and Property Owner Class members’ injuries and

    threatened injuries are indivisible injuries caused by Defendants’ recurring discharges and

    deposits of pollutants, particulate matter, and “black snow” on Plaintiffs’ and Class members’

    properties.

             226.     Pursuant to § 376.308(4), Defendants are jointly and severally liable for damages

    to Property Owner Plaintiffs and Property Owner Class members.

                                COUNT III – 42 U.S.C. § 1983
                    (PROPERTY OWNER CLASS; AGAINST ALL DEFENDANTS)

             227.     Property Owner Plaintiffs, individually and on behalf of the Property Owner

    Class, incorporate the foregoing paragraphs as though set forth at length here.

             228.     The Florida Forest Service (FFS) strictly regulates Defendants’ pre-harvest

    burning. Before Defendants’ may engage in pre-harvest burning, they must apply to the FFS and

    the FFS must grant them a permit, authorizing the specific location, timing, and terms of the



                                                      - 116 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 121 of 131



    requested burn event. See Fla. Stat. § 590.125(3); Fla. Admin. Code § 5I.2.006(2). The permit

    applicant must provide the FFS the details of the proposed burn, including a site description,

    desired weather factors, desired fire behavior factors, and an evaluation of the anticipated

    impacts on smoke sensitive areas. Fla. Admin. Code § 5I.2.006(2)(a). The FFS also plots the

    burn on a map and generates a smoke plume to evaluate the expected results. If conditions are

    not appropriate, the FFS will deny the Defendants burn permits, forcing them to use other

    harvesting methods.

             229.     FFS approval of the burn event depends on wind conditions. Current state

    regulations deny burn permits to sugarcane growers if the FFS projects that the winds will blow

    smoke and ash plumes toward the more affluent Eastern Palm Beach County and Eastern Martin

    County communities near the coast. But the FFS regularly grants permits for burn events—as

    many as 60 burn permits a day—when the prevailing winds blow smoke and ash plumes toward

    the Hazard Zone.

             230.     Property Owner Plaintiffs and Property Owner Class members own homes and

    real property within the Hazard Zone.

             231.     The FFS-permitted burn events not only cause toxic “black snow,” but equally

    insidious, invisible, and pollutant-laden particulate matter toxins to physically invade Class

    members’ properties and interfere with Class members’ use of their properties.

             232.     This physical invasion of Property Owner Plaintiffs and Property Owner Class

    members’ homes authorized by the FFS is a takings for which they are entitled to just

    compensation. Property Owner Plaintiffs and Property Owner Class members have not

    consented to the toxic invasion of their properties, nor have they received compensation for the

    damage it causes their homes.




                                                   - 117 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 122 of 131



             233.     Defendants acted under color of law and jointly engaged with state officials in

    conduct that caused the deprivation of Property Owner Plaintiffs and Property Owner Class

    members’ rights secured by the Constitution.

             234.     Defendants sought the FFS’ approval to burn sugarcane and the FFS specifically

    approved of the Defendants’ burn events that caused Class members’ property damage and

    deprived them of constitutionally guaranteed property rights. Defendants and the FFS both acted

    with knowledge of the damage the permitted burn events would cause homes in the Class area.

             235.     Class members are entitled to fair and just compensation for the partial taking of

    and damage to their properties.

             236.     Compensation alone does not provide a sufficient remedy. A taking executed

    solely to confer a private benefit on a particular private party is constitutionally impermissible,

    even if compensated. By issuing permits to Defendants and authorizing them to physically

    invade and damage the homes of the Property Owner Plaintiffs and Property Owner Class

    members, the FFS has impermissibly conferred a private benefit on particular private parties in

    violation of the Takings Clause of the Fifth Amendment as incorporated by the Fourteenth

    Amendment Due Process Clause. Class members are entitled to an injunction against any further

    burn events.

                           COUNT IV – MEDICAL MONITORING
                 (MEDICAL MONITORING CLASS; AGAINST ALL DEFENDANTS)

             237.     Medical Monitoring Plaintiffs, individually and on behalf of the Medical

    Monitoring Class, incorporate the foregoing paragraphs as though set forth at length here.

             238.      Medical Monitoring Plaintiffs have been exposed to significant levels of

    confirmed carcinogenic pollutants from Defendants’ burns, including (but not limited to) PM2.5

    and benzo[a]pyrene. As detailed above, modeling demonstrates that, throughout the class area,



                                                     - 118 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 123 of 131



    Defendants’ burning has led to PM2.5 exceedances about the 24-hour NAAQS standards and

    benzo[a]pyrene exceedances of the US EPA’s May 2020 Regional Screening Level (RSL),

    respectively. Furthermore, for the reasons detailed above, it is likely that this preliminary

    modeling understates the cumulative impact of Defendants’ carcinogenic emissions on Medical

    Monitoring Plaintiffs and members of the Medical Monitoring Class. These emissions vastly

    exceed background levels.

             239.     According to the IARC, air pollution of the kind released by Defendants’ burning

    “causes cancer of the lung.”

             240.     Defendants were fully aware of the danger of exposing all residents of the Hazard

    Zone to the carcinogenic emissions resulting from their burning of millions of acres of

    sugarcane.

             241.     As detailed above, by negligently burning millions of acres of sugarcane in close

    proximity to residents of the Hazard Zone, including Medical Monitoring Plaintiffs, Defendants

    exposed these residents to heightened risk of numerous adverse health outcomes.

             242.     Specifically, as a result of Defendants’ negligent conduct, Medical Monitoring

    Plaintiffs and the Medical Monitoring Class are at a significantly increased risk of developing

    lung cancer.

             243.     The diagnosis of lung cancer requires specialized testing and treatment that is not

    given to the public at large and that is different from that normally recommended in the absence

    of exposure to harm. This medical monitoring regime should include, but is not limited to:

                      a. annual screening for lung cancer with low-dose computed tomography

                           (LDCT);

                      b. annual chemistry, blood count, and urinalysis; and




                                                     - 119 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 124 of 131



                      c. annual history and physical examination by a board-certified internist.

              244.    This regime will facilitate the early diagnosis and treatment of lung cancer, and

    facilitate other treatments and/or interventions that will prevent or mitigate the various adverse

    consequences of lung cancer.

              245.    This monitoring regime is reasonably necessary according to contemporary

    scientific principles within the medical community, and according to those who specialize in the

    diagnosis of cancers, including lung cancer.138

              246.    As a result of monitoring and testing, the risk that Medical Monitoring Plaintiffs

    and Medical Monitoring Class members will suffer long-term injuries, disease, and losses

    without adequate treatment will be significantly reduced.

              247.    Medical Monitoring Plaintiffs seek an injunction requiring the creation of a

    Court-supervised medical monitoring program, funded by Defendants, that will facilitate the

    diagnosis of Medical Monitoring Plaintiffs and the Medical Monitoring Class for lung cancer.

    This program should include a trust fund to pay for the costs of monitoring and diagnosis.

              248.    Accordingly, Defendants should be required to establish a medical monitoring

    program that includes, among other things:




        138
           The U.S. Preventive Services Task Force (“USPST”) has “found adequate evidence that
    annual screening for lung cancer with LDCT in a defined population of high-risk persons can
    prevent a substantial number of lung cancer–related deaths,” and recommends, for example,
    annual screening for lung cancer with LDCT in adults aged 55 to 80 who have a 30 pack-year
    smoking history and currently smoke or have quit within the past 15 years. See U.S. Preventive
    Services Task Force, Final Recommendation Statement for Lung Cancer Screening (Dec. 31,
    2013), https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/lung-cancer-
    screening#:~:text=Recommendation%20Summary&text=The%20USPSTF%20recommends%20
    annual%20screening,within%20the%20past%2015%20years..


                                                     - 120 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 125 of 131



                  a. Establishing a trust fund, in an amount to be determined, to pay for the medical

                      monitoring of Medical Monitoring Plaintiffs and all members of the Medical

                      Monitoring Class;

                  b. Notifying all members of the Medical Monitoring Class in writing that they may

                      require frequent medical monitoring for the purposes of diagnosis; and

                  c. Providing information to treating physicians to aid them in diagnosis.

             249.     Medical Monitoring Plaintiffs and members of the Medical Monitoring Class

    have no adequate remedy at law; monetary damages alone cannot compensate them for the risk

    of long term physical and economic loss resulting from the development of lung cancer. Absent

    the Court-approved medical monitoring program described here, Medical Monitoring Plaintiffs

    and members of the Medical Monitoring Class will continue to face an unreasonable risk of

    injury and remain undiagnosed.

                                      COUNT V – BATTERY
                           (BATTERY CLASS; AGAINST ALL DEFENDANTS)

             250.     Battery Plaintiffs, individually and on behalf of the Battery Class, incorporate the

    foregoing paragraphs as though set forth at length here.

             251.     Defendants’ sugarcane burning has resulted in harmful and offensive contact with

    Battery Plaintiffs and members of the Battery Class. Specifically, Battery Plaintiffs have been

    exposed without consent to carcinogens, hazardous pollutants, and particulate matter from each

    Defendant’s sugarcane burning. These exposures take place on a near daily basis during each

    harvest season—that is, for between six and eight months of each year. Battery Plaintiffs have

    no way to guard against or otherwise prevent this harmful, offensive, and unwanted contact.

             252.     Defendants knew or should have known that, as a result of their sugarcane

    burning, these carcinogens, hazardous pollutants, and particulate matter would be released, or



                                                     - 121 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 126 of 131



    were substantially certain to be released, into the air and impact residents of the Hazard Zone,

    including Battery Plaintiffs. Therefore, Defendants’ harmful and offensive contact was

    intentional.

             253.     Battery Plaintiffs and members of the Battery Class have been harmed and injured

    by Defendants’ harmful and offensive touching.

             254.     As a foreseeable, proximate, and direct result of each Defendant’s conduct,

    Battery Plaintiffs and members of the Battery Class have been damaged, including as otherwise

    set forth in this complaint, and by invasion of their bodily integrity without their consent, and

    harm to their human dignity and corresponding damages therefrom. Battery Plaintiffs and

    members of the Battery Class have also suffered annoyance, upset, aggravation, and

    inconvenience.

                                        DEMAND FOR JURY TRIAL

             Named Plaintiffs, on behalf of themselves and all others similarly situated, demand trial

    by jury on all issues so triable.

                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs Armstrong, Atkins, Brooks, R. Butts, Coffie, Jones, Legrand,

    Mclean, Reimbold, Smith, and Wilcher, individually and as putative Class Representatives,

    demand judgment against Defendants, and pray for relief as follows:

             A.       Certification of the Classes under Federal Rule of Civil Procedure 23 and

    appointment of Named Plaintiffs as representatives of the respective Classes and their

    undersigned counsel as Class counsel;

             B.       An order appointing Plaintiffs Armstrong, Atkins, Brooks, R. Butts, Coffie, Jones,

    Mclean, Reimbold, Smith, and Wilcher as representatives of the Property Owner Class;




                                                    - 122 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 127 of 131



             C.       An order appointing Plaintiffs Armstrong, Atkins, Brooks, Jones, Legrand, and

    Wilcher as representatives of the Medical Monitoring Class;

             D.       An order for the injunctive relief requested herein;

             E.       An order appointing all Named Plaintiffs as representatives of the Battery Class;

             F.       An order requiring that Defendants pay compensatory and other damages to

    Plaintiffs and the Class members, for their economic and non-economic damages identified

    herein, to the full extent permitted by the law;

             G.       An order awarding all damages allowed by governing statutes;

             H.       An order requiring medical monitoring;

             I.       Statutory pre-judgment and post-judgment interest on any amounts;

             J.       Costs and expenses in this litigation, including, but not limited to, expert fees,

    filing fees, and reasonable attorneys’ fees; and

             K.       Such other relief as the Court may deem just and proper.




                                                      - 123 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 128 of 131



    Dated: June 22, 2020               THE BERMAN LAW GROUP

                                       By: /s/ Matthew T. Moore
                                       Matthew T. Moore, Esq., Fla. Bar No. 70034

                                       Primary: service@thebermanlawgroup.com
                                       Secondary: mmoore@thebermanlawgroup.com
                                       Zachary West, Fla. Bar No. 71134
                                       Primary: service@thebermanlawgroup.com
                                       Secondary: zwest@thebermanlawgroup.com
                                       Joseph Schulz, Fla. Bar No. 660620
                                       Primary: service@thebermanlawgroup.com
                                       Secondary: jschulz@thebermanlawgroup.com
                                       P.O. Box 272789
                                       Boca Raton, FL 33427
                                       Telephone: (561) 826-5200
                                       Fax: (561) 826-5201

                                       Steve W. Berman (admitted pro hac vice)
                                       Ted Wojcik (admitted pro hac vice)
                                       HAGENS BERMAN SOBOL SHAPIRO LLP
                                       1301 Second Avenue, Suite 2000
                                       Seattle, WA 98101
                                       Tel: (206) 623-7292
                                       Fax: (206) 623-0594
                                       steve@hbsslaw.com
                                       tedw@hbsslaw.com

                                       Attorneys for Plaintiffs




                                       - 124 -
    010867-11/1295689 V1
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 129 of 131



                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed

    this June 22, 2020, using the CM/ECF system which will send a notice of electronic filing to all

    counsel or parties of record on the attached service list.

                                                             /s/ Matthew T. Moore
                                                             Matthew T. Moore, Esq.




                                                   - 125 -
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 130 of 131



                                        SERVICE LIST


    Attorneys for Plaintiffs                              Attorneys for Defendant Sugar Cane
                                                          Growers Cooperative of Florida
    Matthew T. Moore, Esq.
    Joseph C. Schultz, Esq.                               Jennifer J. Kennedy, Esq.
    Zachary West, Esq.                                    Abbey, Adams, Byelick & Mueller, LLP
    The Berman Law Group                                  360 Central Avenue, 11th Floor
    PO Box 272789                                         St. Petersburg, FL 33711
    Boca Raton, FL 33427                                  T: 727-821-2080
    T: 561-826-5200                                       F: 727-822-3970
    F: 561-826-5201                                       Email: jkennedy@abbeyadams.com
    Primary Email:                                        ServiceJKennedy@AbbeyAdams.com
    service@thebermanlawgroup.com
    Secondary Email:                                      David J. Abbey, Esq.
    mmoore@thebermanlawgroup.com;                         Abbey, Adams, Byelick & Mueller, LLP
    jschulz@thebermanlawgroup.com;                        3201 US Highway 19 South, 9th Floor
    zwest@thebermanlawgroup.com                           St. Petersburg, FL 33711
                                                          T: 727-821-2080
    Steve W. Berman, Esq.                                 Email: servicedabbey@abbeyadams.com
    Ted Wojcik, Esq.                                      Pro Hac Vice
    HAGENS BERMAN SOBOL SHAPIRO
    LLC                                                   Attorneys for Defendants United States
    1301 Second Avenue, Suite 2000                        Sugar Corporation, Sugarland Harvesting
    Seattle, WA 98101                                     Co., and Independent Harvesting, Inc.
    Tel: (206) 623-7292
    Fax: (206 623-0594                                    Brian M. McPherson, Esq.
    steve@hbsslaw.com                                     Gregor J. Schwinghammer, Jr., Esq.
    tedw@hbsslaw.com                                      Gunster, Yoakley & Stewart, PA
                                                          777 S. Flagler Drive, Suite 500 East
    Attorneys for Defendant J &J Ag Products,             West Palm Beach, FL 33401
    Inc.                                                  T: 561-655-1980
                                                          F: 561-655-5677
    Andrew S. Connell, Jr., Esq.                          Primary Email: bmcpherson@gunster.com;
    Litchfield Cavo LLP                                   gschwinghammer@gunster.com;
    600 Corporate Drive, Suite 600                        Secondary Emails: eservice@gunster.com;
    Ft. Lauderdale, FL 33334                              jhoppel@gunster.com
    T: 954-689-3000
    F: 954-689-3001 Email:
    Connell@litchfieldcavo.com;
    deatley@litchfieldcavo.com




                                                - 126 -
Case 9:19-cv-80730-RS Document 129 Entered on FLSD Docket 06/22/2020 Page 131 of 131



    Mark R. Ter Molen, Esq.                      Attorneys for Defendants Florida Crystals
    Timothy S. Bishop, Esq.                      Corporation, Okeelanta Corporation, and
    Mayer Brown, LLP                             Osceola Farms
    71 South Wacker Drive
    Chicago, IL 60606                            Jennifer Ann McLoone, Esq.
    Ter Molen – T: 312-701-7307                  Shook, Hardy & Bacon, LLP
    Bishop – T: 312-701-7829                     201 South Biscayne Blvd., Suite 3200
    Email: mtermolen@mayerbrown.com;             Miami, FL 33131
    tbishop@mayerbrown.com                       T: 305-358-5171
    Pro Hac Vice                                 F: 305-358-7470
                                                 Email: jmcloone@shb.com

                                                 David Brent Dwerlkotte, Esq.
                                                 Mark D. Anstoetter, Esq.
                                                 Shook, Hardy & Bacon, LLP
                                                 2555 Grand Boulevard
                                                 Kansas City, MO 64108
                                                 T: 816-474-6550
                                                 Email: dbdwerlkotte@shb.com;
                                                 manstoetter@shb.com
                                                 Pro Hac Vice




                                       - 127 -
